      Case 3:16-cv-00840-N Document 1 Filed 03/24/16           Page 1 of 68 PageID 1


                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

AMIGOS LABOR SOLUTIONS, INC.,                   §
LABOR CONSULTANTS                               §
INTERNATIONAL, CO. LTD., MAS                    §
LABOR H2B, LLC and VTB SOLUTIONS,               §
INC. D/B/A PRACTICAL EMPLOYEE                   §
SOLUTIONS,                                      §
                                                §
       Plaintiffs,                              §
vs.                                             § Civil Action No. ___________________
                                                §
THOMAS E. PEREZ, in his official capacity       §
as United States Secretary of Labor,            §
WILLIAM THOMPSON, in his official               §
capacity as acting Administrator, Office of     §
Foreign Labor Certification, Employment and     §
Training Administration, United States          §
Department of Labor, BRIAN PASTERNAK            §
in his official capacity as Deputy              §
Administrator, Office of Foreign Labor          §
Certification, Employment and Training          §
Administration, United States Department of     §
Labor, UNITED STATES DEPARTMENT                 §
OF LABOR as a Party, JEH C. JOHNSON,            §
in his official capacity as Secretary of the    §
Department of Homeland Security, LEON           §
RODRIGUEZ, in his official capacity as          §
Director of the United States Citizenship and   §
Immigration Services, DONALD                    §
NEWFELD, in his official capacity as            §
Associate Director Service Center Operations    §
Directorate of the USCIS, LAURA                 §
ZUCHOWSKI, in her official capacity as          §
Director of the USCIS Vermont Service           §
Center, KATHY A. BARAN, in her official         §
capacity as Director of the USCIS California    §
Service Center and the UNITED STATES            §
DEPARTMENT OF HOMELAND                          §
SECURITY,                                       §
                                                §
       Defendants.                              §



COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 1
FPDOCS 31545073.1
      Case 3:16-cv-00840-N Document 1 Filed 03/24/16                          Page 2 of 68 PageID 2


                COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
                AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS

        Plaintiffs,     AMIGOS         LABOR         SOLUTIONS,           INC.      (“AMIGOS”),          LABOR

CONSULTANTS INTERNATIONAL, CO. LTD. (“LCI”), MAS LABOR H2B, LLC (“MAS

LABOR”) and VTB SOLUTIONS, INC. D/B/A PRACTICAL EMPLOYEE SOLUTIONS

(“PES”) hereby bring this Complaint against Defendants THOMAS E. PEREZ, in his official

capacity as United States Secretary of the Department of Labor (DOL), WILLIAM

THOMPSON, in his official capacity as Acting Administrator, Office of Foreign Labor

Certification (OFLC), Employment and Training Administration (ETA), BRIAN PASTERNAK

in his official capacity as Deputy Administrator, OFLC, ETA, DOL, the UNITED STATES

DEPARTMENT of LABOR as a Party, JEH C. JOHNSON, in his official capacity as Secretary

of the Department of Homeland Security (DHS), LEON RODRIGUEZ, in his official capacity as

Director of the United States Citizenship and Immigration Services (USCIS), DONALD

NEWFELD, in his official capacity as Associate Director Service Center Operations Directorate

of the USCIS, LAURA ZUCHOWSKI, in her official capacity as Director of the USCIS

Vermont Service Center, KATHY A. BARAN, in her official capacity as Director of the USCIS

California Service Center and the UNITED STATES DEPARTMENT of HOMELAND

SECURITY1 alleging:

                                             INTRODUCTION

        1.       As set forth below, Plaintiffs are aggrieved by the failures of the Defendants and

their officials, including those Defendants named in their official capacities, to follow the

governing statute at 8 U.S.C. § 1101(a)(15)(H)(ii)(b) under which U.S. employers that require


1
 The U.S.C.IS is a component agency of the DHS. OFLC is a component agency of DOL. When references are
made to DHS and DOL, the allegations are made also against the named officials of the respective agencies in their
official capacities.
COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 2
FPDOCS 31545073.1
     Case 3:16-cv-00840-N Document 1 Filed 03/24/16             Page 3 of 68 PageID 3


foreign “temporary” guestworkers to fill seasonal or other temporary jobs in nonagricultural

positions are entitled, applicable requirements being met, to bring such temporary foreign

guestworkers to the United States to fill those temporary positions at the time they are needed

and under conditions that allow the employers to operate their businesses successfully and meet

their obligations to their customers in a timely and complete manner.        Excuses that the

Defendants lack funding or adequate staffing to conduct their statutory duties in a timely way

cannot preclude employers from obtaining the services of guestworkers on whose services they

and their U.S. employees and customers rely. Excuses that they do not have time to comply with

Congressional mandates likewise are not adequate reasons to deny employers the rights they are

afforded under law. Moreover, the DHS Defendants and their subordinate staffs charged with

implementing what is known as the H-2B Program, based on the statutory subpart of Title 8, that

is cited above and that is applicable to the program, have failed to follow the DHS regulations

issued for the operation of the USCIS that are published at 8 C.F.R. § 214.2(h)(6), having been

promulgated at 73 Fed. Reg. 78,104 (Dec. 19, 2008). They have effectively and materially

changed the operational requirements and burdens under those regulations on employers and

their agents, including Plaintiffs here, without lawful rulemaking under notice and comment

procedures as required by 5U.S.C. § 553. DHS Defendants have not timely adjudicated or

approved Form I-129 Petitions for Nonimmigrant Workers (“petitions”) for H-2B workers that

were filed by the Plaintiffs as Agents on behalf of H-2B employers who need assistance in

completing the filing with the three (3) federal agencies that are required in order for an

employer to be allowed to bring H-2B temporary foreign guestworkers to the United States to

perform necessary work as lawfully employed temporary workers. The DOL Defendants and its

subordinate officials and staff charged with implementing the H-2B Program have likewise


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 3
FPDOCS 31545073.1
     Case 3:16-cv-00840-N Document 1 Filed 03/24/16                  Page 4 of 68 PageID 4


failed to follow the requirements of the same governing statute. All Defendants have failed to

follow regulations issued jointly with DHS by Federal Register Notice at 80 Fed. Reg. 24,042-

24,144 (April 29, 2015 to be codified at 20 C.F.R. § 655.1 through 655.99) (“Joint DHS/DOL H-

2B Regulations”). The Plaintiffs and the H-2B employers they represent have no adequate

administrative appeal route before either agency or any other tribunal to avoid catastrophic and

irreparable ruin. Resort to any additional agency or appellate administrative processes would be

futile. They therefore seek the immediate assistance of this Honorable Court as H-2 dependent

employers have been forced seek the intervention of the Federal Courts in the past.

       2.      Under 8 U.S.C. § 1101(a)(15)(H)(ii)(b), the statutory provision that establishes

and governs the H-2B program, along with 8 U.S.C. § 1184(c), a temporary, nonagricultural

worker such as the temporary workers Plaintiffs and their employer clients need is one who:

               having a residence in a foreign country which he has no intention
               of abandoning, who is coming temporarily to the United States to
               perform other temporary service or labor [that is not agricultural
               service as provided in subpart H(ii)(a)] if unemployed persons
               capable of performing such service or labor cannot be found in this
               country . . ..

       3.      Under DHS regulations under which USCIS examines H-2B petitions in

accordance with 8 C.F.R. § 214.2(h)(6)(vi)(D) the employer must provide “[a] statement

describing in detail the temporary situation or conditions which make it necessary to bring the

alien to the United States and whether the need is one-time occurrence, seasonal, peakload, or

intermittent. If the need is seasonal, peakload, or intermittent, the statement shall indicate

whether the situation or conditions are expected to be recurrent . . .”

       4.      The DHS definition of “temporary services or labor” is stated at 8 C.F.R. §

214.2(h)(6)(ii)(A) as follows:

               Temporary services or labor under the H-2B classification refers to
               any job in which the petitioner’s need for the duties to be
COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 4
FPDOCS 31545073.1
     Case 3:16-cv-00840-N Document 1 Filed 03/24/16                 Page 5 of 68 PageID 5


               performed by the employee(s) is temporary, whether or not the
               underlying job can be described as permanent or temporary.
       5.      According to these DHS regulations adopted in 2008, the “Nature of petitioner’s

need” that is appropriate for H-2B eligibility is described as follows:

               Employment is of a temporary nature when the employer needs a
               worker for a limited period of time. The employer must establish
               that the need for the employee will end in the near, definable
               future. Generally, that period of time will be limited to one year or
               less, but in the case of a one-time event could last up to 3 years.
               The petitioner's need for the services or labor shall be a one-time
               occurrence, a seasonal need, a peak load need, or an intermittent
               need.
8 C.F.R. § 214.2(h)(6)(ii)(B).
       6.      The so called “one-term time occurrence” basis for H-2B certification and visa

authorization is designed to meet the needs of employers that need, for example, to staff a large

construction project or other one-time project over a defined limited period of time but a period

of time that may last up to three years. See 8 C.F.R. § 214.2(h)(6)(ii)(B)(1).

       7.      The employers whose Agents are Plaintiffs in this suit are not employers who

need workers on an “intermittent” basis over a short period of time as permitted under 8 C.F.R.

§ 214.2(h)(6)(ii)(B)(4).

       8.      The two DHS/USCIS definitional categories of “temporary” needs that best

describe the needs of most of the employers represented by Plaintiff Agents here are the so-

called “seasonal need” and the “peakload need” employers. These two terms are defined by

DHS/USCIS regulation as follows:

               (2) Seasonal need. The petitioner must establish that the services
               or labor is traditionally tied to a season of the year by an event or
               pattern and is of a recurring nature. The petitioner shall specify the
               period(s) of time during each year in which it does not need the
               services or labor. The employment is not seasonal if the period
               during which the services or labor is not needed is unpredictable or
               subject to change or is considered a vacation period for the
               petitioner's permanent employees.

COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 5
FPDOCS 31545073.1
     Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 6 of 68 PageID 6




                (3) Peakload need. The petitioner must establish that it regularly
                employs permanent workers to perform the services or labor at the
                place of employment and that it needs to supplement its permanent
                staff at the place of employment on a temporary basis due to a
                seasonal or short-term demand and that the temporary additions to
                staff will not become a part of the petitioner's regular operation.
8 C.F.R. § 214.2(h)(6)(ii)(B)(2) and (3) (emphasis supplied). In all cases, Plaintiffs’ employer

clients have shown that their annual temporary employees do not become a part of the regular

year round operations. They are needed only for a period of months within a 12 month reccurring

cycle.

           9.   As the DHS/USCIS regulatory definitions for “seasonal need” and “peakload

need” show, a “peakload need” can be the result of a temporary need to supplement the existing

permanent staff at the place of employment “due to a seasonal or short-term demand. . . .”

(Emphasis supplied). Some H-2B landscape, resort and hotel employers and others have only a

“seasonal need,” i.e., one that is governed by the four seasons of the year. During the coldest,

deepest days of winter, for example, as in the cases of some landscape operators, northern beach

resorts, and golf courses, they do not operate at all. Such landscape companies do not need any

workers who work with outdoor plant materials, as they do in the warmer months, generally

beginning in mid-February to begin cleanup work as winter is abating and continuing through the

fall to prepare plants to survive the winter by adding mulch and taking other steps to enable the

operations to shut down fully for a defined, seasonally-related period. Other H-2B employers,

including some landscapers and others, maintain a smaller permanent year-round cadre of

workers who during the winter season perform some of the same work as performed by their

larger workforce that substantially expands in the spring because of an expansion in workload.

Their peakload lasts for a period of time during each year, and their peakload is seasonally-

related.
COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 6
FPDOCS 31545073.1
     Case 3:16-cv-00840-N Document 1 Filed 03/24/16                   Page 7 of 68 PageID 7


       10.     Both the DOL Defendants’ delays and failures to process H-2B applications in the

time periods required under regulations and issue labor certifications that the terms and

conditions of employment they offer to U.S. workers they attempt to recruit, as well as to H-2B

workers, to the extent that U.S. workers cannot be found, do not adversely affect the wages and

working conditions of U.S. workers similarly employed and the DHS/USCIS Defendants’ delays

and failures to adjudicate and timely approve petitions filed on behalf of U.S. employers by these

Plaintiffs are violations of the Immigration and Nationality Act of 1952 (INA), as amended by

the Immigration Reform and Control Act of 1986 (“IRCA”), the applicable DHS regulations, the

April 29, 2015, published joint regulations of the DOL and DHS, the Administrative Procedure

Act, and the Fifth Amendment to the Constitution of the United States. Their actions and their

failures to act are resulting in current, ongoing and serious and irreparable injuries to Plaintiffs in

their businesses as agents of H-2B employers and to their employees as well as to their client

employers and their U.S. workers. Many such employer clients of the Plaintiffs have needed to

be able to employ H-2B temporary foreign guestworkers earlier this year, as early as January or

February, and they now badly need the services of these H-2B workers whose services they have

been unlawfully denied. Most other H-2B employers need their workers on April 1, 2016, but

they have no hope of receiving their needed workers by April 1, given remaining processes and

approvals that the agencies have yet to perform and the unlawful conditions these agencies have

attempted to impose on them, contrary to law and the agencies own regulations. The acts and

omissions of the Defendants have already caused irreparable ongoing damages to the Plaintiffs

and have already caused ongoing irreparable damages to the clients of all of these individuals

and businesses and indeed the U.S. economy in general and these injuries are continuing.




COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 7
FPDOCS 31545073.1
     Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 8 of 68 PageID 8


       11.     Plaintiffs will separately file a motion requesting that the Court commence an

emergency hearing on this matter as soon as papers and briefing can be completed. Time is of

the essence because the Defendants’ failures to act upon pending and long-overdue-for-action

applications for certification filed with DOL and the DHS Defendants’ failures to adjudicate and

approve pending H-2B Employers’ petitions have prevented Plaintiffs’ employer clients from

having some 14,300 H-2B workers on the job on time, thus preventing the Plaintiff Agents from

fulfilling their duties and their H-2B employer clients from fulfilling seasonally-dependent, time-

sensitive contractual obligations and other temporary work that must begin on time to be

completed within the available time their seasonal businesses can operate and earn revenue for

their “year” and jeopardizing the jobs of U.S. workers whose own employment is dependent on

the H-2B workers’ arrival to perform their jobs. Even after completion of certification processes

operated through DOL and adjudication of these petitions by DHS adjudicators, these Plaintiff

Agents and their H-2B employer clients must still apply for and obtain appointments at

Consulates of the United States Department of State (DOS) in Mexico, Jamaica and other home

countries of the proposed H-2B workers so Consular officials can investigate, interview and

finally determine whether or not individual proposed H-2B employees, who also must submit

their own DS-160 applications to DOS officials, meet requirements for admission into the United

States. It can take 10 days to schedule a Consular interview and get the workers from their home

villages to the Consular city once USCIS issues its approval of visa issuances. When the

Consular officials do issue a visa to an individual H-2B worker, the fact that the individual has

been issued an H-2B visa is recorded in the Federal computer database, and USCIS thereafter has

access to that individual record.




COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 8
FPDOCS 31545073.1
     Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 9 of 68 PageID 9


       12.     Because of additional mandatory and time consuming procedures that must be

completed before U.S. Consular officials in Mexico, Jamaica and the workers’ other home

countries can even be scheduled to meet with the proposed H-2B visa grantees and because of

the practical logistical problems of transporting large numbers of H-2B workers from their home

countries to a consulate and then to their worksites within the United States from Washington

State, to Texas, Florida, Virginia, New York, and beyond, even after USCIS finally approves the

overdue petitions, time is of the essence. At best, once USCIS grants its approval of an H-2B

employer’s petition, it will take several weeks for approved workers to present themselves for

interview as scheduled in advance at a designated Consulate in Mexico, Jamaica or elsewhere,

receive a visa issued on the second or third or even fourth day and after an even longer delay in

some countries after their appearance for an interview and travel to the worksite of their

respective job locations.

       13.     Both USCIS and DOL have publicly acknowledged that they have failed to meet

established time limits within which they should have acted and resolved pending applications

with OFLC and petitions for adjudication pending with USCIS. See the attached Exhibits 1-11

showing delays affecting the client employers of just these four (4) agent companies and

composite Exhibit 12, pages 1-261.

       14.     In the recent past, USCIS typically took just fifteen (15) days to adjudicate and

approve a petition, based on historical experiences of these Plaintiff Agent companies whose

owner/executives who have together successfully filed thousands of such petitions over at least

over 18-30 years each.      Recently, however, USCIS has unreasonably delayed actions on

petitions. In some cases USCIS has even delayed issuing receipts that are supposed to establish

filing dates of petitions to as many as 2-3 and even 4 days after actual delivery on verified dates


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 9
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 10 of 68 PageID 10


by Federal Express. USCIS officials have refused to adjudicate and approve some petitions for

more than 45-60 days even after the employers paid $1225 per petition for so-called “premium

processing of their petitions.       USCIS has issued Requests for Evidence demanding that

landscaping companies in Ohio, Missouri and other cold weather climates that experience cold

winters, where snow and ice prevents grass from growing and trees are dormant during the

coldest winter months, typically from mid-November through at least mid-February, prove that

their “temporary” need for individuals to install annual bedding plants, mow grass, trim growing

shrubbery and similar work meets the definition of “temporary” “seasonal” or “temporary”

peakload employment under applicable regulations. These RFEs are suddenly being issued this

season even though in many cases both USCIS and DOL have previously conducted audits to

determine if these same businesses met applicable requirements and were operating in

compliance with applicable rules. Many of the businesses receiving such Requests for Evidence

have operated as businesses that require temporary workers on a seasonal or other temporary

basis for 10 to 20 years and more.

       15.     Moreover, in every case—that is each and every case that reaches the desk of an

UCIS adjudicator—the same regulatory definitions of these terms has already been applied this

year to the petition of that employer by an OFLC Certifying Officer before the labor certification

was issued by DOL’s OFLC Certifying Officer. Joint DHS/DOL H-2B Regulations, 80 Fed.

Reg. at 24,113, to be codified at 20 C.F.R. 655.6(b). The actions by USCIS adjudicators in

demanding more evidence or different evidence to make the same factual showing is at best

redundant but is even more unreasonable and an abuse of any discretion they possess in light of

the devastating consequences of the delays they have caused and are still causing. Moreover,

DHS is allowing its adjudicators to do exactly what DHS said it would not do when it adopted


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 10
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                 Page 11 of 68 PageID 11


the currently effective DHS regulations under which it will determine if it will approve visa

issuances on December 19, 2018. 73 Fed. Reg. 78,104, 78115. There DHS said:

               While DHS will not go into the merits of the determination
               previously made by DOL, DHS is responsible for ensuring the
               integrity of the H-2B program, that the facts presented in the entire
               petition package are true and verifiable. Where it is established on
               notice and the opportunity to respond, that the statement of facts
               contained in the petition or the application for a temporary labor
               certification was inaccurate, fraudulent, or misrepresented, DHS
               acts completely within its authority to deny or revoke a petition.

Id. 73 Fed. Reg. at 78,115 (middle column). Instead of accepting DOL/OFLC as having made an

appropriate “merits” determination, the volume and percentages of DHS/\USCIS Requests for

Evidence and Notices of Intent to Deny compared to past years suggest a wholesale policy

change at that agency, contrary to its announced reliance on DOL/OFLC to do its job, and that

either untrained adjudicators are being allowed to make demands and issue edits that are contrary

to law and to DHS/USCIS’s specifically announced views on such matters as expecting that

many peakload need and seasonal need employers will require H-2B staffing on a recurring

annual basis (and issuing visa approvals accordingly, year after year) or that more senior

officials and the Department of Homeland Security and OFLC themselves have abandoned their

stated policy of accepting DOL/OFLC determinations on matters on which DOL/OFLC has

issued a determination and have abandoned the definitions of “temporary” to which both

DOL/OFLC and DHS/USCIS officially subscribe. Mas Labor reports that beginning in January

2016, timely issuance of Notices of Acceptance and Notices of Deficiency at DOL was abruptly

halted. Of the 35 filings in January and February, only 2 such notices (6%) were issued within

the required seven (7) day period. Further, 38% of notices were issued as Notices of Deficiency.

Less than half of all labor certifications issued in January were received 30 days or more from

the start date of need, which is statutorily required, with the average being issued 26.8 days from

COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 11
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                 Page 12 of 68 PageID 12


the date of need. In February, however, the average dropped to 17.6 days before the start date of

need. Only 5% of labor certifications were issued on time, outside of the 30 day window. That

means that 95% of the labor certifications were issued late—and very late at that. The same

percentage of labor certifications was issued after the employer’s beginning date of need. The

catastrophic failures continue today, where the average labor certification is issued just 7.4 days

from the employer’s start date. Turning to the USCIS, virtually all Mas Labor client pay the

extra $1225 per petition “premium processing” fee because timing is always tight between

USDOL/OFLC certification and the employer’s date of need. At USCIS this year, the average

number of days from visa petition filing to approval has escalated from 17.4 days on average in

January to 38.6 days on average in March. In the last six months, a mere 1% of visa petitions

were approved inside of 7 days. Relative to the employer’s dates of need, only 26% of visa

petitions were approved before the employer’s needed start date; the vast majority were

approved after the beginning of the employer’s date of need. Petition approval has plummeted

from an average of 8.4 days until the starting date of need in January to 17 days after the starting

date of need in March. Of the 25 cases currently pending at USCIS for Mas Labor clients, all but

3 have received Requests for Evidence (“RFE”) requiring supporting documentation for their

peakload/seasonal need. Of these 22 RFEs issued, for certain 21 were issued to Mas Labor

clients that have previously used the H-2B to fill their temporary seasonal or temporary peakload

workforce needs, and Mas Labor understands that its new client that is number 22 of the

companies receiving such an RFE is also a repeat user of the H-2B program to meet its

temporary workforce needs when and to the extent that U.S. workers are not available. Of the

cases for which Mas Labor clients have received RFEs, 68% received the RFE within 2 weeks of

the start date of need, and in 2 such cases, the companies received an RFE after their starting


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 12
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                 Page 13 of 68 PageID 13


date of need. In a Request for Evidence received on March 22, 2016, in connection with a

petition filing that was for a seasonal landscape employer that is a multi-year certified and

authorized user of the H-2B program whose petition was submitted with the employer’s State

quarterly wage reports and a summarized payroll report, the USCIS Vermont Service Center

issued an RFE anyway. On the last page of the RFE, under “Recruiter/Recruitment Fees,” the

adjudicator questions whether the employer has an agreement in place with its agent (in this case,

MAS Labor) showing that the employer has prohibited the payment of prohibited fees by

workers. Such agreements are now required as part of the employer’s H-2B application to the

DOL. DOL would not be issuing a labor certification to this employer or to any employer that

has not already furnished such documentation to DOL/O”FLC. The issuance of the labor

certification itself by DOL/OFLC should stand as confirmation that such an agreement between

the employer and its agent, one of the Plaintiffs in this suit, is in place. Why, in the face of its

regulatory commitments not to second guess DOL/OFLC would an USCIS adjudicator usurp that

responsibility from DOL/OFLC and ask again for a document that was required as part of the

DOL/OFLC application package? Also, it is worth noting that this section of the RFE contains

multiple errors and contradictions. The City of Tegucigalpa is in Honduras, not Guatemala as

the RFE says. The RFE refers to Monterrey, Mexico in one place and Nuevo Laredo, Mexico in

another (Monterrey is correct, Nuevo Laredo is not). It also says that the employer has answered

in the affirmative concerning whether it will use a recruiting or similar placement service to

locate the workers, but further down it says, “please explain to USCIS how you plan to recruit

and hire 20 unnamed workers from Nuevo Laredo, Mexico if you will not be utilizing any type

of placement service.” The DHS, USCIS and the senior officials of the agencies are already on




COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 13
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                  Page 14 of 68 PageID 14


notice of the errors of its adjudicators, and they have done nothing to curtail the issuances of

Requests for Evidence like this just received on March 22, 2016.

        16.    OFLC has repeatedly issued Requests for Evidence from the Plaintiff Agents and

their respective employer clients to establish that the employers’ needs for workers are

“temporary,” despite the express adoption of the DHS/USCIS definition of this and related terms

at 80 Fed. Reg.at 24,113, to be codified at 20 C.F.R. 655.6(b) and acknowledgements by both

DHS and DOL on many occasions that “temporary work refers to any job where the employer’s’

need for the employee is temporary, regardless of whether the underlying job can be described as

permanent or temporary. In re Artee, 18 I & N. Dec. 366-367 (1982) (Emphasis supplied). “It is

not the nature or the duties of the position which must be examined to determine the temporary

need.   It is the nature of the need of the duties to be performed which determines the

temporariness of the position.” Id. at 367.

        17.    Under DOL/OFLC regulations, OFLC must determine whether an application for

H-2B employment meets applicable requirements within seven (7) business days of the receipt of

such application and must provide Notice to the applicant employer and its agent by means of

next-day delivery of any modifications required if the original application is deficient in some

way. OFLC has failed to meet these deadlines even after having said that it has adopted

“Emergency Procedures” to expedite the processing of long-delayed, overdue applications. See

pp. 156-157, 170-173 to Exhibit 12. Nonetheless, OFLC appears also to be routinely issuing

notices of supposedly required modifications that in fact are not legally required. Issuing a

Request for Modification within seven (7) business days does however, makes it appear that

OFLC has taken action, albeit not proper action or one that is lawful, on an application within

seven (7) days.


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 14
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 15 of 68 PageID 15


       18.     Besides the foregoing general descriptions of the errors and omissions of the

Defendants, they have issued requirements in violation of the Consolidated Appropriations Act,

2016, Pub. L. 114-113 (“2016 Appropriations Act”), and have failed to provide relief to H-2B

employers required by Congress. In the 2016 Appropriations Act, the Congress rejected and

disallowed several recently made changes to H-2B regulatory provisions that DHS and DOL

jointly had tried to impose in their Interim Final Regulations issued in 2015. A copy of the

pertinent sections of the 2016 Appropriations Act is attached as Exhibit 12, pp. 89-90. For

example, under the Joint DHS/DOL H-2B regulations issued on April 29, 2015, DHS and DOL

would have changed the longstanding authorization for H-2B employers to employ foreign

guestworkers on a “temporary” annual basis for up to ten (10) consecutive months in a recurring

annual period and would have reduced the time to a maximum of nine (9) months in an annual

recurring period. See 80 Fed. Reg. at 24,113 quoting what is to become 20 C.F.R. § 655.6(b)

stating that “temporary need” except for a “one time occurrence” may not exceed nine (9)

months. See 2016 Appropriations Act, Pub. L § 114-113, Section 113, saying that “for the

purpose of regulating admission of temporary workers under the H-2B program, the definition of

temporary need shall be that provided in 8 C.F.R. § 214.2(h)(6)(ii)(B).

       19.     The 2016 Appropriations Act further provides that in determining how many H-

2B workers may be admitted in any annual period, visas issued to individuals who are returning

workers who were employed by an H-2B employer in 2013, 2014, or 2015 shall not be counted

toward the maximum 66,000 visas that may be issued at the rate of 33,000 visas for each of the

six (6) month periods within fiscal year 2016. Instead of allowing a simple process whereby the

Department of State could inform USCIS of the number of visas remaining available to be

issued, USCIS shut down the visa petition process, for days, designed a new form that requires


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 15
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16               Page 16 of 68 PageID 16


detailed information about individual proposed H-2B workers that many employers and agents

do not have and did not know they would need when the workers were last employed. These

new processes were adopted without rulemaking or input from those affected.           This was

unnecessary to effectuate the provisions adopted by Congress in December 2015 to assist H-2B

employers in early 2016. As it is, the DHS component agency Customs and Border Patrol

(“CBP”) already records entries and departures from the United States and the type of visa under

which the individual has been allowed entry. Thus, these agencies and USCIS already had ready

access to official records of specific individuals who entered the U.S. in 2013, 2014 or 2015

pursuant to an H-2B visa.

       20.     In connection with finally taking steps on February 5, 2016, to implement the

Congressional directive adopted on December 22, 2015, that returning workers who held H-2B

visas in fiscal years 2013, 2014, or 2015 not be counted toward the 66,000 total number of such

workers who could be admitted in fiscal year 2016, USCIS designed a new form called an “H-2B

Returning Worker Certification,” copy attached as Exhibit 12, pp. 91-94. The text of this form

says it must be attached “[a]s a supplement to the certification made on the attached form I-129

Petition . . . .” Id. It requires the petitioning employer to name the proposed returning H-2B

workers and “certify” that the persons listed on the form were issued an H-2B visa or were

changed by USCIS to an H-2B status “during one of the last three (3) fiscal years.” The form

asks for the returning H-2B workers’ “’A’ [or alien registration] number, if known,” even though

a person who has only held an H-2B visa will never have been issued an “A” number. It asked

for the date of each “returning” worker’s last admission to the United States and the date of

change to H-2B status, if known. The form requires that the person signing the “returning




COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 16
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16               Page 17 of 68 PageID 17


worker form” be the “same person who signed part 7 of [the petitioning employer’s Form I-

129].”

         21.   The returning worker form appears to have been adopted on an ad hoc basis.

USCIS chose to issue this form without obtaining authorization to do so from Congress or the

Office of Management and Budget, thereby violating the Paperwork Reduction Act, 44 U.S.C.

§ 3506(c)(2)(A) and rulemaking requirements under the Administrative Procedure Act, 5 U.S.C.

§ 553.

         22.   Besides issuing and requiring completion of the extra-legal “H-2B Returning

Worker Certification” form – by the same person who had signed the employer’s original I-129

form in connection with its February 5, 2016, first announcement of the mandatory use of this

form after this provision was adopted on December 22, 2015. USCIS limited the availability of

the “returning worker exception” to the 66,000 worker cap for fiscal year 2016 by requiring that

employers must identify those workers to USCIS by submission of the H-2B Returning Worker

Certification no later than March 4, 2016, not even 30 days after USCIS announced employers

must use the extra-legal form. See Exhibit 12, pp. 91-94; see also Exhibit 12, pp. 95-97. Thus,

after delaying implementation of the Congressional exclusion of returning H-2B workers from

December 22, 2015, USCIS gave employers and their agents, including Plaintiffs, under 30 days

within which to identify all persons eligible for exclusion from the cap, make arrangements with

the proposed workers to accept employment with the employer, and file an unapproved form to

certify with the USCIS detailed information about their names, as well as other information on

one of the I-129 attachments, Attachment 1, pages 35 and 36 of the I-129 package.

         23.   While the effects of these unlawful restrictions on the use of the H-2B exemption

from the visa cap are unsupportable as to workers who might be available and willing to return to


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 17
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16               Page 18 of 68 PageID 18


one of their prior employers from 2013, 2014 or 2015, restrictions on the use of the “cap”

exclusion make it virtually impossible for an employer that had not previously employed a

particular worker in 2013, 2014 or 2015, to be able to locate, make arrangements with and

“name” that worker fully on the USCIS form by March 4, 2016.

       24.     After indicating in its February 5, 2016 email notice to Plaintiff Agents and H-2B

employers that H-2B employers were merely “urged” to identify H-2B workers to USCIS on the

ad hoc-adopted “ “H-2B Returning Worker Certification” form – see the italicized heading in the

email message from USCIS, “H-2B Employers Are Urged to Identify Returning Workers when

[sic] Filing Petitions,” Exhibit 12, pp. 91-94, then USCIS described the completion of the “H-2B

Returning Worker Certification” as “additional requirements . . . applicable for H-2B returning

workers . . . .” USCIS even acknowledged that the U.S. Consular officials in the proposed

worker’s home country can determine if the person meets the requirement of having been issued

an H-2B visa in the required three (3) year period without input from the employer or the USCIS

form. “The U.S. Consulate may deny a visa. . . if workers cannot be confirmed as returning

workers, or are otherwise ineligible for admission or visa issuance.” Id. In fact, the actual

sentence USCIS placed in its email notice in which it first “urged” and then “required” the

information on the form admitted that both the Consular officials and officials of the USCIS

sister agency, the U.S. Custom and Border Protection (CBP), can, without any input from the

employer, agents, or USCIS determine if a particular proposed H-2B employee meets returning

worker and other applicable requirements for admission.. The email instruction says:

               The U.S. Consulate may deny a visa or a U.S. Customers and
               Border Protection (CBP) port inspector may refuse admission of
               worker if workers cannot be confirmed as returning workers, or are
               otherwise ineligible for admission or visa issuance.



COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 18
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                 Page 19 of 68 PageID 19


Id. Then USCIS claimed that “DHS and Department of State will work together to confirm that

all certified returning workers qualify for the program. Id.

       25.     Rather than working with resources within the DHS agency, CBP, and the

Department of State records, USCIS has allowed adjudicators to add even more impermissible

hurdles to using the returning worker program. For example, by Requests for Evidence issued

on March 9, 2016, in connection with a case that had been filed with extra money paid for

“premium processing” of the visa petition by Plaintiff Amigos on behalf of its employer client

Full Care of Indianapolis, Inc. (“Full Care”), that as shown by Exhibit 12, pp. 39-43, needs its H-

2B workers to operate its business, Full Care and Amigos were informed that they must establish

that the planned for returning workers were in a valid, nonimmigrant status at the time the

petition for visa issuance was filed. Necessarily, if the workers were then outside the United

States and would apply for their visas at a U.S. consulate in Mexico, they were then in a “valid”

nonimmigrant status.

       26.     USCIS demanded that Full Care provide additional evidence, all of which was

already readily available to the CBP and the Consulate in Mexico, and that in the past USCIS has

been able to determine from official U.S. computer databases concerning the status of foreign

nationals. There is an overall limit of three (3) continuous years in a nonimmigrant H-2B status

that any particular individual may be afforded under a series of visas, but the accumulation of

three (3) years in the United States can be broken in multiple ways, including by leaving the

United States and remaining outside the United States for specific periods of time depending on

the amount of time the individual has been within the United States. Depending on these factors,

the accumulation of the three (3) years is “broken” or interrupted so that the count for the three

(3) year period begins again.      The computation of this limitation is extremely complex.


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 19
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                   Page 20 of 68 PageID 20


Normally, employers and their agents are only required to provide details and proof in the way of

documentary evidence of when a proposed visa beneficiary was outside the United States if they

want to challenge the federal government record of when the person was present and when the

person was outside the United States based on what is shown on the official Federal databases.

If the official records of the United States government show that the proposed employee

beneficiary is eligible for entry and for the work period set forth in the certification,, there is no

good reason for USCIS to demand that employers affirmatively establish that an individual

presently outside the United States is eligible to receive the returning worker visa when, as

USCIS recognized in its regulatory promulgations in 2008, each individual must present himself

or herself at a United States consulate and be examined for eligibility, and then the person may

be examined again at the port of entry by CBP to determine if he or she meets the appropriate

criteria for admission.

       27.      In these and many other ways, if together the DHS and DOL Defendants had

deliberately set out to subvert the application of the Congressional mandates in the 2016

Appropriations Act and generally through extra requirements and unlawful demands to prevent

the H-2B employers from obtaining their rights to make effective use of their rights under 8

U.S.C. § 1101(a)(15)(H)(ii)(b), they could not have more thoroughly or completely thwarted the

aims of recent Congressional actions and long-standing statutory law.

                                             PARTIES

       28.      Plaintiff Amigos Labor Solutions, Inc. (“Amigos”) is a Texas Corporation with its

principal place of business at 3141 Hood Street, Suite 333, Dallas, Texas, 75219.

       29.      Plaintiff Labor Consultants International Co. Ltd. (“LCI”) is an Idaho Corporation

with its principal place of business at 1831 North Lakewood Drive, Suite B, Coeur d’Alene,

Idaho, 83814.
COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 20
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 21 of 68 PageID 21


       30.     Plaintiff Mas Labor H2B (“Mas Labor”) is a Virginia Corporation with its

principle place of business at 650 Front Street, Lovingston, Virginia, 22949.

       31.     Plaintiff VTB Solutions, Inc., d/b/a Practical Employee Solutions (“Practical

Employee Solutions” or “PES”) is a Texas Corporation with is principal place of business at

12300 Winding Hollow Lane, Frisco, Texas, 75033.

       32.     Defendants are Thomas E. Perez, in his official capacity as United States

Secretary of Labor, William Thompson, in his official capacity as Acting Administrator, Office

of Foreign Labor Certification, Employment and Training Administration, United States

Department of Labor, Brian Pasternak in his official capacity as Deputy Administrator, Office of

Foreign Labor Certification, Employment and Training Administration, United States

Department of Labor, United States Department of Labor as a Party, Jeh C. Johnson, in his

official capacity as Secretary of the Department of Homeland Security, Leon Rodriguez, in his

official capacity as Director of the United States Citizenship and Immigration Services, Donald

Newfeld, in his official capacity as Associate Director Service Center Operations Directorate of

the USCIS, Laura Zuchowski, in her official capacity as Director of the USCIS Vermont Service

Center, Kathy A. Baran, in her official capacity as Director of the USCIS California Service

Center and the United States Department of Homeland Security. The Defendants may be served

pursuant to Rule 4 of the Federal Rules of Civil Procedure or as otherwise permitted by law.

                                JURISDICTION AND VENUE

       33.     This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 because

officers and agencies of the federal government are parties, and this matter presents a federal

question arising under federal law and under the United States Constitution.

       34.     This Court has jurisdiction over the subject matter of the case pursuant to the

Administrative Procedure Act (“APA”), codified at 5 U.S.C. § 701, et. seq.; the Declaratory
COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 21
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                 Page 22 of 68 PageID 22


Judgment Act (“DCA”), codified at 28 U.S.C. § 2201, et seq.; the Immigration and Nationality

Act of 1952 as amended by the Immigration Reform and Control Act of 1986, 8 U.S.C. §

1101(a)(15)(H)(ii)(b) and § 1184(c).

       35.     Venue is proper in the Dallas Division of the United States District Court for the

Northern District of Texas pursuant to 28 U.S.C. § 1391(c) and (e), 5 U.S.C. § 703 and the Local

Rules of the Northern District of Texas, Appendix II.3, in as much as Plaintiff Amigos is located

within Dallas County within the Dallas Division of such Court. Defendant U.S. Department of

Homeland Security and United States Department of Labor maintain permanent offices within

Dallas Texas. All of the other Defendants are component agencies of these Departments. The

individual Defendants are sued in their official capacities and may be sued in this venue.

       36.     Plaintiffs bring this action for declaratory and injunctive relief and a Writ of

Mandamus as a result of the failures of DHS and DOL and their respective component agencies

and officers charged with such responsibilities to act timely and in accordance with law upon

applications for H-2B labor certification and to adjudicate and approve petitions seeking such

visas in a timely manner, in accordance with applicable regulatory and statutory requirements, to

permit the employer clients of the Plaintiffs and Plaintiffs’ employers access to a legally

authorized workforce when and where the guestworkers are needed.

       37.     The operating owner executives of the Plaintiffs Agents have filed on behalf of

clients in the H-2B (or predecessor H-2) program annually on behalf of hundreds of clients for

18 to 30 years. Plaintiffs Amigos, LCI, Mas Labor, and Practical Employee Solutions are all

“agents” within the meaning of that term under the Joint DHS/DOL H-2B regulations issued

April 29, 2015, to be codified at 20 C.F.R. § 655.5 (definition “agent” published at 80 Fed. Reg.

24,110, (third column)). Their roles as entities authorized to file H-2B applications on behalf of


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 22
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16               Page 23 of 68 PageID 23


their employer clients is also recognized at 20 C.F.R. § 655.7, published at 80 Fed. Reg. at

24,113 (middle column). They have each met all requirements pursuant to what will become 20

C.F.R. § 655.8, published at 80 Fed. Reg. at 24,113 (middle column). These Agent Plaintiffs may

be referred to collectively as “the Agents,” and as noted above, while the Joint DHS/DOL

regulations were published only on April 29, 2015, these Agents each have functioned in their

current roles as H-2B agents for many years.

       38.     As an example of how the current H-2B program has worked and how the prior

H-2 program worked, all under the same statutory authorization, landscape maintenance

employer clients of the Agents require temporary workers during certain months of the year to

perform seasonal landscape maintenance during warmer months, from early spring through fall

when vegetation is actively growing, grass must be mowed, growing shrubbery must be pruned,

and annual plants must be set out, watered, and otherwise tended. During the coldest winter

months, some of these landscaping organizations cease all such outside plant care work

altogether and thus are truly “seasonal” in that they provide no plant-related services during

certain periods of the year. Other landscaping services sharply curtail all outside plant-related

services for certain periods of the year, but, on an occasional basis, their local climates

permitting, do engage in limited plant care and installation work, pick up fallen tree limbs, and

perform work within the H-2B job description, thus making their needs for “temporary” workers

what is called a “peakload” need in which the employers must greatly expand their workforces to

handle high season workloads during the spring, summer, and fall, while maintaining a small

cadre of persons who sometimes perform work with plants during the coldest winter months.

Together DHS and DOL have created vast confusion about the understandings of these terms

among their respective staffs and among H-2B employers. Other types of business clients of the


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 23
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 24 of 68 PageID 24


Agents also have temporary workforce needs that may be truly seasonal, in that the businesses

only operate part of the year, or they may have peakload needs that may be tied to the seasons.

All require temporary workers to meet their staffing needs.          These include hotels, inns,

restaurants, golf courses, tree-planting companies, and others including a brick refractory

company in Fort Worth that could not bid jobs it did not have workers to perform. See Exhibit

12, pp. 31-32.

       39.       Because the employers are unable to offer fulltime work year-round because of

the temporary nature of the jobs for which they require workers or because some workers prefer

not to engage in arduous outdoor work or other jobs for which U.S. workers are not available,

Plaintiffs’ clients in landscaping and other businesses that rely on the H-2B program routinely

face shortages of sufficient numbers of able, willing, qualified and legally authorized U.S.

workers to perform the work needed to operate their seasonal businesses or to fulfill seasonal or

other temporary contractual obligations to their customers and clients.

       40.       As DOL and DHS have publicly recognized, other U.S. employers to which the

Agents routinely provide services and that require temporary H-2B workers include resorts, inns,

restaurants, and hotels that face seasonal upsurges in needs for employees to provide

housekeeping and related hotel, resort and restaurant services. Many of these resorts, hotels,

inns, restaurants and related facilities are in isolated areas with small local populations that

cannot or will not meet the workforce needs of the employers. Some U.S. workers simply do not

want to perform these jobs. Rogers v. Larson, 563 F.2d 617 (3d Cir. 1977), a case involving the

pre-IRCA H-2 temporary foreign guestworkers program, discusses some of the problems that

Congress attempted to address in the temporary foreign guestworker program on which Agents

and their employer clients rely. The Larson Court noted that many U.S. citizens of the Virgin


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 24
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16              Page 25 of 68 PageID 25


Islands were unwilling to accept the domestic labor, tourist industry and agricultural jobs

employers needed to fill because they considered them to be degrading and undesirable, thus

making H-2B employers of such workers and indeed the whole economy of the Virgin Islands

economically dependent on the necessary availability of temporary H-2 workers from

neighboring islands. Rogers 563 F.2d at 624. Thus, as the Third Circuit recognized in Larson,

“[t]he common purposes” of the INA provisions related to “temporary” laborers “are to assure an

adequate labor force on the one hand and to protect the jobs of citizens on the other. Any

statutory scheme with these two purposes must inevitably strike a balance between the two

goals.” Rogers, 563 F.2d at 626.

       41.     When Congress amended the INA via the Immigration Control and Reform Act

(“IRCA”) in 1986, the only change it made to 8 U.S.C. § 1101(a)(15)(H)(ii) was to create

subpart “a” as applicable to agricultural workers and subpart “b” as applicable to temporary

workers in nonagricultural jobs, hence the term H-2B.       The INA provision under which

temporary workers such as these Agents and their employer clients need in order for their

businesses to survive was not otherwise changed. Pub. L 99-603, Title III § 301(c), 100 Stat.

3411, 3434 (Nov. 6, 1986).

       42.     The H-2B visa program gets its name from the provision of the INA, as amended

by IRCA, where it is codified. 8 U.S.C. § 1101(a)(15)(H)(ii)(b). The H-2B visa program permits

foreign guestworkers to enter the United States on a temporary basis to “perform temporary

service or labor if unemployed persons capable of performing such service or labor cannot be

found in [the United States].” Id. Plaintiff Agents and their employer clients are economically

dependent on the availability of workers being available when and where they are needed

through the H-2B program.


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 25
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                 Page 26 of 68 PageID 26


       43.     U.S. employers are able to hire foreign guestworker nationals on a seasonal or

other temporary basis through the H-2B program after the employer demonstrates a shortage of

U.S. labor and completes an application process that involves three (3) federal government

agencies and individual visa application forms filed by the proposed workers. First, an employer

that expects to need temporary foreign guestworkers obtains a “labor certification” from DOL’s

OFLC. A certifying officer (“CO”) issues such a “certification.” Second, after receiving a

“certification” from OFLC, the employer files a petition with USCIS. Once the petition is

adjudicated by an USCIS adjudicator, the third step is for the employer to file the approved

petition with the Department of State in support of a prospective H-2B employee’s application

for issuance of an H-2B visa by a Consular official, usually in the employee’s home country,

although an individual who is already in the United States in a lawful status is not required to

return to his or her home country to make the H-2B visa application. Once all of these steps

have been completed, an interview session at the appropriate State Department Consulate in the

prospective worker’s home country must be scheduled if the worker is not already in the U.S. in

connection with another job or activity he or she is legally permitted to be in the U.S. to perform.

The individual must appear for an interview, and if the Consular Official approves his or her

application for issuance of a visa, then under procedures adopted by some of the the Consular

Offices of the United States in Mexico as of February 29, 2016, prospective H-2B employees

now must wait until the third day after they have presented themselves at the consular location

for their visas to be printed so they can then begin their journey to cross the United States border

and begin their travels to the worksite of their intended employer. As an example, Consular

processing in Jamaica can take up to 20 days.




COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 26
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                 Page 27 of 68 PageID 27


       44.     Employers that seek to hire foreign guestworkers under the H-2B program must

apply for and receive a temporary “labor certification” from DOL’s OFLC that they file along

with their petition that is filed with the USCIS. 8 C.F.R. § 214.2(h)(6)(iii). The purpose of the

labor certification process is to ensure that “there are not sufficient workers who are able,

willing, qualified, and available at the time of application for a visa and admission to the United

States and at the place where the alien is to perform such services or labor.” 8 C.F.R. §

214.2(h)(1)(ii)(D), and that the employment of the H-2B workers will “not be adversely affecting

the wages and working conditions of United States workers.” 8 C.F.R. § 214.2(h)(6)(i)(A).

       45.     As of the close of business March 18, 2016, Plaintiff Amigos has filed 43

petitions with the USCIS, accompanied by labor certifications on behalf of these proposed H-2B

employers, virtually all of which were approved by OFLC to receive H-2B guestworkers in prior

years as well as in 2016. Some employers required H-2B workers to fill time-sensitive, seasonal

and other temporary positions earlier this year. Other H-2B workers were supposed to have

commenced work this season on April 1, 2016. As of March 18, the petitions have not been

acted upon by USCIS, thereby guaranteeing in the practical sense that these workers will not be

available to begin work on April 1, 2016.

       46.     As of the close of business March 18, 2016, Plaintiff LCI had filed only 19

petitions with the USCIS, accompanied by labor certifications. Most of the 141 affected

employers on behalf of which it acts have not had their labor certifications issued despite

employer dates of need as early as February this year. Other H-2B workers were supposed to

have commenced work this season on April 1, 2016.            As of March 18, most employers’

applications have not been acted upon by USCIS or DOL/OFLC, thereby guaranteeing in the

practical sense that these workers will not be available to begin work on April 1, 2016.


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 27
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16               Page 28 of 68 PageID 28


       47.     As of the close of business March 18, 2016, Plaintiff Mas Labor has filed 372

visa petitions with the USCIS, all accompanied by labor certifications, on behalf of affected

proposed H-2B employers, that have dates of need of April 1, 2016 or before on which visa

authorizations have not been issued. Virtually all of these employers have used the H-2B

program successfully in the past. In addition, Mas Labor had 73 applications at DOL/OFLC for

which labor certifications had not been issued for employers that need workers by April 1. Of

these applications, 25 employers needed their workers by March 15, or before. As of March 18,

they have not been acted upon by USCIS, thereby guaranteeing in the practical sense that these

workers will not be available to begin work on April 1, 2016. Among many problems for Mas

Labor clients, after it duly filed the labor certification application form its client Hydro-Tech

Irrigation Co., for 20 workers with the OFLC on January 1, 2016, the earliest day possible under

the new rules, nothing happened to the applications for week. Finally, Mas received the labor

certification and immediately filed the petition with the labor certification with USCIS on March

2, 2016. Hydro-Tech has been a successful user of the H-2B program and a Mas client since

2008. It has a time-sensitive need for these 20 workers to work as landscape laborers beginning

on April 1. That cannot possibly happen, especially since it received a Request for Evidence on

March 15, 2016. In another case, Mas Labor filed an application for labor certification for BB

Stoneworks, Inc., a Colorado client since 2011 on January 6, 2016. It needs 20 workers to begin

time sensitive work as Production Laborers on April 1, 2016. That same day, on January 6, the

employer filed with DOL a second application for 14 workers to begin work on April 1, 2016 as

Machine Operators. DOL issued a Notice of Acceptance for the first application on February 9,

2016, and the employer submitted its Recruitment Report to DOL on March 4, 2016. DOL did

not issue the labor certification until March 16, 2016. Mas Labor filed the visa petition with


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 28
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                   Page 29 of 68 PageID 29


USCIS the same day, March 2016, 2016. As for the application for labor certification for the

Machine Operators, DOL issued a Notice of Acceptance for the second application on February

22, 2016. The employer submitted its Recruitment Report to DOL on March 17, 2016, but to

date DOL has not issued a labor certification.

       48.     As of the close of business March 18, 2016, Plaintiff Practical Employee

Solutions had filed 11 petitions with the USCIS, accompanied by labor certifications, on behalf

of affected proposed H-2B employers, on which USCIS has not issued visa authorizations.

Virtually all received H-2B guestworkers in prior years.          Some employers required H-2B

workers to fill time-sensitive, seasonal and other temporary positions in March. Most of its

clients’ H-2B workers were supposed to have commenced work this season on April 1, 2016. As

of March 18, they have not been acted upon by USCIS, thereby guaranteeing in the practical

sense that these workers will not be available to begin work on April 1, 2016.          Practical

Employee Solutions has 78 applications pending at DOL/OFLC, most for employers that needed

their workers by April 1.

       49.     Each of the Agent Plaintiffs’ H-2B Employers’ petitions was filed with the

prospective employer paying extra for what is known as “Premium Processing,” under which

USCIS has obligated itself to adjudicate the respective petition in accordance with criteria

lawfully and fairly imposed on the employers within fifteen (15) days of receipt. Each employer

paid USCIS One Thousand Two Hundred Twenty-Five Dollars ($1,225) in additional fees for

this service to be provided with respect to each petition filed on its behalf.

       50.     USCIS has been on notice that it has repeatedly failed to meet the 15 day deadline

for adjudicating urgently needed employer petitions and that its staff have been applying legally

incorrect standards and issuing legally (and in some cases factually) incorrect Requests for


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 29
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 30 of 68 PageID 30


Evidence. Petitions filed with the USCIS are filed with either the USCIS Vermont Service

Center under the direction of Laura Zuchowski or the USCIS California Service Center under the

direction of Kathy A. Baran, both Defendants in their respective official capacities, depending on

the part of the United States the employment will be located. On information and belief,

Defendant Donald Newfeld is the Associate Director, Service Center Operations Directorate for

both Service Center locations.

       51.     In many instances, Federal Express records show delivery dates for petitions as

many as several days before the Centers have acknowledged receipt. The delay in issuing

notices of receipt makes it appear that petitions have been pending less time than in fact they

have been waiting response. Moreover, many Requests for Evidence have been issued on the

fourteenth or fifteenth day after the Center has finally acknowledged receipt, thereby making it

appear that actions, albeit unwarranted, were at least timely.

       52.     All Plaintiffs have received multiple Requests for Evidence stating that additional

evidence of a temporary need beyond the evidence already reviewed and found adequate by

OFLC was required. Many of the affected employers have successfully used the H-2B Program

for many years. Nonetheless, they submitted payroll records, quarterly tax returns, letters from

the National Landscape Association, the American Hotel and Lodging Associates and other

documents that demonstrate that their own businesses and businesses like theirs regularly must

use temporary workers and that their needs meet applicable definitions for temporary or other

seasonal needs. See Exhibit 12, pp. 30-32, 39-60, 70-88, 110-113, 116-147, 174-175.

       53.     Many employers submitted evidence demonstrating that beginning on the date for

which they sought authorization to hire temporary foreign guestworkers, historically the

employers had needed a substantial increase in the number of workers available to perform tasks


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 30
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                 Page 31 of 68 PageID 31


within the job description and that such “peakload” temporary need for the services of such

workers continues this year, and as it has in the past needed such workers until the date on

which the employers now seek to end the H-2B visa work authorization of their proposed

workers. To the extent that the requested beginning date of such planned temporary employment

is later in the calendar year than the employer has in the past substantially increased the number

of employees who perform such work, the employer has already been forced to rearrange and re-

calendar its work performance commitments to its customers – and delay or forego its period of

increased revenues -- to begin such work commitments no earlier than April 1 because in recent

years, by any date later than about January or February, depending on the year (and the status of

the recovery of the U.S. economy from the Great Recession), all 33,000 H-2B visas available in

the first half of the Federal fiscal year would have been used. Thus, some employers have

already rearranged their business schedules and rely on workers being available April 1, the first

date employees issued one of 33,000 visas for the second half of the fiscal year that starts April 1

can be lawfully employed. Thus, many employers that feared being “capped out” and thus

unable to obtain H-2B visa approvals for work dates earlier in the calendar year have already

rearranged and curtailed their work commitments to begin materially increased workloads

starting on April 1. Some of these employers are able to obtain a small cadre of year round

workers who sometimes plant a tree, clean up lawn debris, or perform other limited work within

the H-2B job description in the dead of winter, but these small year round cadres of workers for

these H-2B employers cannot perform all of the work that their H-2B employers have already

committed themselves contractually to perform—in some cases backed by performance bonds.

Moreover, whether the employer is a landscape operator, a restauranteur, or a golf course

operator, the employers may aspire to sell “new business.” Based on historical trends and


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 31
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 32 of 68 PageID 32


estimates of potential for business growth, in all cases, they need workers when and where they

need them during their peakload seasons. The employer clients and the Agents submitted payroll

records, quarterly tax returns, letters from the National Landscape Association and other

documents demonstrating that in the locale in which the intended employment will be performed,

such work can and is performed by this employer at this materially increased peakload rate

requiring a substantially larger workforce only during the designated period for which H-2B visa

authorization was being sought. As of March 18, USCIS has been in possession of multiple duly

filed petitions on behalf of such employers and evidence demonstrating their temporary needs for

workers for the period requested. USCIS has not adjudicated or corrected its position on such

petitions. In some cases USCIS adjudicators demanded employers’ form 941 tax filings but did

not know that according to the tax form filing instructions, the reported employee headcount for

a month or quarter is only the headcount on a particular day of each month. Thus, increases or

decreases in headcount during the month on the day before the “headcount day” and increases or

decreases in headcount during the month on the day after the “headcount day” do not show up as

historically reflecting the actual change in numbers of employees employed during the month.

Instead of understanding that an employer that needs workers on March 15 might in fact ramp up

operations year after year on March 15, yet its 941 tax filings will reflect its smaller headcount

from the headcount reporting day earlier in the month. Likewise, an employer that has a large

headcount until November 15 and then drops its headcount to reflect the colder weather will not

have this headcount reduction in a report that is based on its November 12 headcount. A

seasonal amusement industry employer that totally shuts down in the dead of winter, has no

employees during that time, and has used the H-2B program for part of its temporary worker

workforce was denied participation in the H-2B program because the USCIS adjudicator


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 32
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 33 of 68 PageID 33


misapplied the applicable rules for determining if an employer has a “temporary” period of under

a year for a position to be filled. Exhibit 12, pp. 62-65.

       54.     The failures by USCIS to process and timely approve the above petitions, cited as

examples, that were filed pursuant to the Premium Processing services requirements for which

the respective Plaintiff Agents’ employer clients paid and on which they relied were

unreasonable failures by the DHS/USCIS Defendants.

       55.     Requests by USCIS official adjudicators to prove the respective employers’

“temporary” needs after they have already made such an evidentiary showing to the DOL/OFLC

as part of the DOL Labor Certification Process were and are also unreasonable, especially,

where, as here, common sense and climate history reasonably demonstrate that work such as that

performed by the respective employers’ employees necessarily will cease at the end of their

employers’ “season” or be at least sharply curtailed so the period when each employer’s seasonal

peakload need has ended is clear during the coldest winter months when there are typically

freezing temperatures, often snow on the ground, plants are dormant, etc. As a result of the

unreasonable delays and duplicative and nonsensical Requests for Evidence on such matters as

the climate-dictated work periods during which the employers need workers to perform these

jobs or need substantially more workers for these jobs, both the Plaintiff Agents and their

respective employer clients have already suffered and will continue to suffer irreparable harm.

Employers that cannot obtain sufficient workers to perform their contractual work obligations

and conduct normal business operations, as they have come to expect and rely on by using the H-

2B program to employ workers who are legally present in the U.S. and authorized to work, may

go out of business and will necessarily suffer irreversible financial loses as well as substantial

and irreparable damages to their reputations. Likewise, each of the respective Plaintiff Agents


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 33
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                   Page 34 of 68 PageID 34


faces losses of their respective businesses if their employer clients cannot rely on the H-2B

program as a means of timely and reliably obtaining sufficient legal workers to perform their

business operations. The U.S. employees of the respective Plaintiff Agents as well as the U.S.

employees in other (i.e. non H-2B) positions of the respective employer clients also face

substantial and irreparable harms by the loss of employment because of the loss of business and

business revenue of their respective employers and their potentially, ever-more-likely crippling

inability to operate this spring. There is no end in sight to the delays or unreasonable Requests

for Evidence and other actions by USCIS that have caused and continue causing inordinate and

unreasonable delays and irreparable injuries despite representatives of Plaintiff Agents having

met with Kevin Cummings, Chief, Business and Foreign Workers Division, USCIS on Thursday,

March 10, 2016, to apprise him of the acts and failures to act by DHS, USCIS and the officials of

these agencies. These Plaintiff Agents and their employer clients also communicated directly

and through Congressional Representatives with officials of both DHS/USCIS and DOL/OFLC

of the extent of the failures and the consequences to Plaintiffs, to Plaintiffs’ clients and to all of

their employees. See Exhibit 12, pp. 109-115, 158-167, 174-175, 187-189, 234-240, 241-247.

See also, Exhibit 12, pp. 1-17, submitted to counsel for Defendants on March 23, 2016, p. 156,

DOL Announcement of Emergency H-2B Processing Procedures on February 19, 2016, p. 157,

Announcement by Acting OFLC Director of leave from March 21 through March 28, 2016.

Through a letter containing detailed descriptions of problems Plaintiffs Amigos and Practical

Employee Solutions were having with delays beyond regulatory response requirements on the

agency and other problems, by letter dated February 18, 2016, to DOL/OFLC Deputy Director

Brian Pasternak was directly advised that such problems were already serious and were getting

worse. See Exhibit 13 and other Exhibits referenced herein. The Agency Defendants are well


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 34
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16              Page 35 of 68 PageID 35


aware of their failings but have not corrected these failings. Instead, processing times have

increased and silly, illegal Requests for Evidence have continued, with new and surprising

additional demands. See Exhibit 12, pp. 1-17, 66-69, 114-115, 156, 159-162, 187-189, 241-242,

248-261.

       56.     As another example of the unreasonable treatment to which Plaintiffs and their

employer clients have been and continue to be subjected, by telefax delivered to Plaintiff

Amigos on February 23, 2016, Amigos and its client employer were falsely accused of

“attempting to misrepresent a material fact” concerning the content of a letter memo issued by

Thomas Cook, then Acting Assistant Commissioner for the U.S. Department of Justice (DOJ),

Immigration, and Naturalization Service (INS) on February 1, 2002, when the INS was the

component agency of the DOJ to which H-2B petitions were filed before the functions of the

U.S. Attorney General and INS were transferred to the newly created United States Department

of Homeland Security and its component agency, the USCIS. See 8 U.S.C. §1103(A). For

convenience, this February 1, 2002 memorandum will be referred to as the “Cook memo.”

       57.     A copy of the USCIS telefax coversheet and related documents stating the “Intent

to Deny” the petition filed by Amigos on behalf of Archway Lawncare and Landscaping is

Exhibit 12, pp. 33-38. USCIS incorrectly contends that in a letter of support explaining the

failure of the employer to have named all of the proposed H-2B petition beneficiaries, i.e.

prospective temporary guestworkers, at the time of filing the I-129 petition on behalf of the

employer, the employer and Amigos had incorrectly quoted from the Cook memo as part of their

explanation of why a petition necessarily filed so long in advance of the planned actual work

start date could not accurately list all of the workers who would in fact make themselves

available for the job at that future date. The Notice of Intent to Deny quoted a section of the


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 35
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 36 of 68 PageID 36


Cook memo cited by Amigos as allegedly missing from the Cook memo. As the actual Cook

memo shows, the letter of support correctly stated that the Cook memo states in support of the

request for deviation from listing every proposed H-2B beneficiary, “[f]urther, Service officers

may rely totally on the verbal assertions of the petitioner in determining whether the petitioner

has a valid business reason for not providing named beneficiaries.”

       58.     The Defendant USCIS adjudicator incorrectly contended, “[h]owever, USCIS has

reviewed a copy of this memo, and the original memo does not appear to contain this quoted

section. By providing this quote, it appears that you are attempting to misrepresent a material

fact.” On this basis, USCIS issued a Notice of Intent to Deny the petition saying, “[i]f you have

provided false or misleading information, then the beneficiary is not clearly eligible for

classification under this section.” The petitioning employer and its agent Amigos were then

granted thirty (30) days from the date of the Notice or thirty three days (33) if the notice had

been received via U.S. Postal Mail, the usual appeal time, to provide “additional information,

evidence, or arguments to support the petition.”

       59.     With the Cook memo having been issued so long ago, February 1, 2002, and

Amigos’ internal documents reciting content from the Cook memo that it could no longer locate

in full text, Amigos did not have at its immediate disposal a full copy of the Cook memo. It

required several days and extraordinary efforts to obtain a full copy of the Cook memo. Upon

receipt of the Cook memo, Amigos, by facsimile transmission on March 4, 2016, submitted the

full copy of the Cook memo. The Cook memo is attached as Exhibit 12, p. 38. The first

paragraph of the Cook memo makes it clear that the subject of the memorandum is the practice

of H-2B employers and their agents of filing H-2B petitions that contain requests for

authorization for issuance of visas to unnamed “beneficiaries,” i.e. proposed H-2B employees.


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 36
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                 Page 37 of 68 PageID 37


The Cook memo says in part, “[t]his memorandum modifies only the portion of the initial

memorandum dealing with unnamed beneficiaries by indicating that directors should require the

H-2B petitioner to provide the business reason for not listing the names of the beneficiaries. This

memorandum also clarifies that H-2B petitions may include both named and unnamed

beneficiaries.” Cook memo, Paragraph 1.

       60.     The Cook memo also expressly discusses the type and source of evidence that

should be presented to justify why an H-2B petition has not included the names of all proposed

beneficiaries. The concluding sentence of the third substantive paragraph of the Cook memo

specifically says:

               Further, Service officers may rely totally on the verbal assertions
               of the petitioner in determining whether the petitioner has a valid
               business reason for not providing named beneficiaries.

       The fifth substantive paragraph of the Cook memo says specifically:

               Service officers are also reminded that named and unnamed
               beneficiaries may be included on the same H-2B petition.


       61.     The DHS/USCIS regulations under which petitions are currently submitted for

USCIS adjudication are those adopted by DHS by Federal Register Notice issued at 73 Fed. Reg.

78,104-78,130 (Dec. 19, 2008). The DHS regulations governing the naming of proposed H-2B

workers in their employers’ petitions are currently codified at 8 C.F.R. § 214.2(h)(2)(iii) under

the topic “[N]aming beneficiaries.” Under this current DHSUSCIS provision:

               Except as provided in this paragraph (h), all H-2A and H-2B
               petitions must include the name of each beneficiary who is
               currently in the United States but need not name any beneficiary
               who is not currently in the United States.
(Emphasis supplied).




COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 37
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16               Page 38 of 68 PageID 38


       62.     Unnamed beneficiaries must be shown on the petition as a total number. In 2008,

this regulation was formally adopted, DHS said, to “give employers far greater flexibility to

recruit workers who are interested and available to start on the date needed.” 73 Fed. Reg. at

78,108. On the subject of the effect of not requiring employers to name proposed worker

beneficiaries who were then currently outside of the United States, the subject arose as to how,

the unnamed proposed beneficiaries would be tracked to be sure that they did not exceed their

personal three (3) year limit on their maximum “unbroken” or continuous presence in the United

States. At that time, DHS said that this eligibility requirement would be – could be -- met

because “[u]pon approval of the H-2B petition, these prospective beneficiaries must generally

undergo a visa interview at a U.S. consulate, unless they are visa exempt (e.g., Canadians). All

individuals seeking admission to the United States must undergo inspection by a U.S. Customs

and Border Protection Officer upon arrival at a U.S. Port of Entry. During this visa application

and/or admission process, the necessary screening will be conducted to ensure that the H-2B

worker will not be granted any benefit exceeding the 3-year ceiling.” 73 Fed. Reg. at 78,108

(third column).

       63.     Thus, not only is the allegedly missing sentence in the Cook memo actually

present in the Cook memo as the concluding sentence of paragraph 3 of the Cook memo, the

recently instituted, ad hoc practice by USCIS of requiring H-2B employers to provide detailed

information about who the proposed returning workers are, including those returning workers

who held H-2B visas in 2013, 2014 or 2015 who, pursuant to the 2016 Congressional

Appropriations Act, Section 565, will not have the issuance of their visas counted against the

total of 66,000 H-2B visas that may be issued during 2016, is unnecessary as DHS recognized




COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 38
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16               Page 39 of 68 PageID 39


when it explained the operation of the current DHS/USCIS regulations on their promulgation in

2008.

        64.      Thus, the claim by USCIS that it appeared that Plaintiff Amigos and its client

Archway Lawncare and Landscaping were “attempting to misrepresent a material fact” is in fact

a false accusation. The sloppiness or other reason for failure of the USCIS adjudicating official

to be familiar with the now longstanding Cook memo of 2002, the failure by the adjudicator to

have read the document fully before making the false accusation and placing Amigos and its

client to such demands, delays, expenses, and stresses, and the failure to have applied 8 C.F.R.

§ 214.2(h)(2)(iii), but instead issuing a formal Notice of Intent to Deny the employer’s petition

comprise one of many examples of actions by USCIS adjudicating officials that have imposed

demands they may not legally make.         They have caused unreasonable delays in petition

processing and issuances. They have driven up costs of participating in the Program that allows

employers access to lawfully present guestworkers. They have created unrelieved stomach acid

in Plaintiff Agents and their employer clients. They have discouraged participation in the H-2B

program.      In innumerable ways large, small, redundant, ad hoc and individualized, USCIS

adjudicator and DOL/OFLC certifying officer-initiated, DHS and DOL have discouraged and

are actively, if not deliberately, discouraging the lawful use of this Congressionally authorized

H-2B program whereby employers that require temporary workers they cannot obtain within the

United States may lawfully engage the services of temporary foreign guestworkers who support

their businesses and allow their U.S. employees and themselves to continue to earn their

livelihoods.

        65.      OFLC has also unlawfully imposed restrictions and demands and failed to act in

accordance with applicable requirements on its and its officers’ actions.       H-2B employer


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 39
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                  Page 40 of 68 PageID 40


petitions filed with the USCIS “shall be accompanied by” among other documents, a “labor

certification” issued by the Secretary of Labor.    See 8 C.F.R. § 214.2(h)(vi)(A); see also Fed.

Reg. at 24,111 and 24,126, to be codified at 20 C.F.R. §§ 655.5 and 655.52. The Secretary of

Labor has designated such determinations to be made by the national certifying officer, the

Administrator of the OFLC, who has in turn delegated authority to issue such certifications to a

subordinate certifying officer (CO) of the OFLC. OFLC is governed by the same statutory

provision and regulation defining the word “temporary” as is DHS/USCIS. OFLC examines

whether an application establishes an employer’s “temporary” need. Under applicable USCIS

procedures, an employer’s petition must also be filed with a statement of need provided by and

for the petitioning employer that describes “in detail the temporary situation or conditions which

make it necessary to bring the alien to the United States and whether the need is a one-time

occurrence, seasonal, peakload, or intermittent [need].” 8 C.F.R. § 214.2(6)(vi)(D). Additionally,

the same provision provides that:

               If the need is seasonal, peakload, or intermittent the statement shall
               indicate whether the situation or conditions are expected to be
               recurrent.


       66.     The DHS regulations plainly contemplate, as provided in the underlying INA

statutory provision, and has been the practice virtually since the INA was adopted in 1952,

particularly since 1954, that employers that require temporary foreign guestworkers may have a

recurring need each year and are not barred from using the H-2B visa program if their temporary

need recurs annually. See, e.g., the rulings in several federal courts under the H-2 program before

the agricultural program was split from the nonagricultural program without other change to the

eligibility standards applicable to employers that require “temporary or service or labor” in

connection with the Congressional enactment of IRCA. See, e.g., Presidio Valley Farmers Ass’n.

COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 40
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 41 of 68 PageID 41


v. Brock, 765 F2d 1353, 1355 (5th Cir. 1985) (explaining prior history of the case that included

the issuance of injunctions against both DOL and USCIS in 1978 because without the needed H-

2 workers to harvest the onions, the farmers’ onions were rotting in the fields); Frederick Cty.

Fruit Growers’ Ass’n v. Marshall, 436 F.Supp. 218 (W.D. Va. 1977) (historically approximately

60% of the workforce having come from offshore sources); Kimball Heights Farms v. Marshall,

C.A. No. 77-240 (D. N.H., Aug. 18, 1977) (“In the last several years, the primary source of full-

time apple pickers [for the picking season] has been the British West Indies.”); Patterson

Orchard v. Marshall, C.A. No. 77-147 (D. Vt. June 30, 1977) (grower members of the Shoreham

Cooperative Apple Producers Association won injunction to allow importation of workers from

the British West Indies “for the short but economically critical apple harvest.”). See also Rogers

v. Larson, 563 F.2d 617 (3rd Cir. 1977) noting that employers needing hotel housekeeping

workers in jobs in which H-2 workers were allowed to work in the U.S. Virgin Islands, annually

required temporary foreign workers and were permitted to employ such temporary workers on a

recurring basis. The Rogers Court noted that after Congressional hearings on the use of the H-2

temporary foreign guestworker program in 1954, Congress expressed disapproval of an initial

interpretation of the H-2 temporary program statutory authorization. For a short time the INS did

not allow use of the H-2 program for the jobs that “were considered to be recurring and seasonal

in nature.” Rogers, 563 F.2d at 624, citing extensively to a special Congressional study,

Subcommittee on Immigration, Citizenship and International Law of the House Committee on

the Judiciary, 94th Cong. 1st Sess., Nonimmigrant Alien Labor Program on the Virgin Islands of

the United States (Comm. Print 1975), Rogers, 563 F.2d at 624.




COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 41
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 42 of 68 PageID 42


        67.    Describing the plight of U.S. employers that had become dependent on the regular

return of workers from other non-U.S. islands to alleviate the serious shortages of workers in

their resort and hotel businesses, the Rogers Court explained:

               In 1954, a Special House Subcommittee held hearings and studied
               this problem. Concluding that the Service’s interpretation of the
               word “temporary” was too restrictive, the Subcommittee
               recommended a more realistic and expeditious application of the
               H-2 provisions for natives of the island of Tortola in the British
               Virgin Islands. This application of H-2 subsequently was
               expanded to other Caribbean Islands and other occupations were
               brought within the expanded construction of the INA.


Rogers, 563 F.2d 624, citing Comm. Print 1975 at 14-15.

        68.    In subsequent years both the INS and now the DHS/USCIS have recognized that

it is appropriate to allow “recurring” annual authorizations for U.S. employers to employ

temporary or seasonal alien guestworkers under the H-2B program.

        69.    At least one petition of Plaintiff Amigos was nonetheless denied by the

INS/USCIS because of the legally erroneous basis for denial, that in connection with having

made a second consecutive year petition for authorization to employ H-2B landscape workers in

Cincinnati, Ohio, the employer might be “becoming dependent” on annually using the H-2B

program to assist in meeting its workforce needs.          Thus, the adjudicator concluded the

employer’s petition should be denied on that legally erroneous ground. Other petitions have

suffered the same treatment for the same illegal reason, that the employer has a recurring annual

need.

        70.    This reason for denial of an H-2B petition or delay in issuing visa authorization is

legally incorrect as demonstrated by review of the underlying statutory authorization, the prior

and current regulations governing the issuance of visas for temporary nonagricultural and


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 42
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 43 of 68 PageID 43


agricultural worker employment, and commentary issued by DHS itself in the Federal Register

and on its website and in court cases.

       71.          The joint DHS/DOL H-2B Interim Final Regulations adopted April 29, 2015,

demonstrate that employers with either peakload or seasonal needs may use the H-2B program to

meet their temporary workforce needs on an annual recurring basis and furthermore demonstrate

that in light of the 2016 Congressional appropriations restriction, the agencies may not restrict

annual periods of temporary foreign guestworker employment to nine (9) or fewer months. That

conclusion is required based on the agencies joint explanation for their planned, but now

forbidden, maximum recurring need restriction in any 12 month period for which H-2B

certification and visa issuance would be authorized. In the publication of their Interim Final

Regulation, as they were describing the reduction in the maximum permitted period from 10

months to 9 months, DHS and DOL said:

               DOL’s temporary need period [of 9 months] falls comfortably
               within the parameters of the general “1 year or less” limitation
               contained in the DHS regulations. Routinely allowing employers
               to file seasonal, peakload or intermittent need applications for
               periods approaching a year would be inconsistent with the
               statutory requirements that H-2B job opportunities need to be
               temporary. In our experience, the closer the period of employment
               is to 1 year in the H-2B program, the more the opportunity
               resembles a permanent position. We conclude that a maximum
               period of 9 months establishes the temporariness of the position.
               Where there are only a few days or even a month or 2 for which no
               work is required, the job becomes less distinguishable from a
               permanent position, particularly one that offers time off due to a
               slow-down in work activity. Recurring temporary needs of more
               than 9 months are, as a practical matter, permanent positions for
               which H-2B labor certification is not appropriate. The approach in
               the 2008 rule that permitted temporary certifications for periods up
               to 10 months encompasses job opportunities that we conclude are
               permanent in nature and inconsistent with congressional intent to
               limit H-2B visas to employers with temporary or seasonal needs.
               We conclude that the 9-month limitation that fairly describes the
               maximum scope of a seasonal need should also be applied to

COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 43
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                 Page 44 of 68 PageID 44


               peakload need since there is no compelling rationale for creating a
               different standard for peakload.

80 Fed. Reg. at 24,056 (first column) (Emphasis supplied).

       72.     There can be no doubt that the DHS and DOL expressly considered that H-2B

employers may have recurring annual needs for H-2B guestworkers. Emphasizing that both

Departments together had expressly considered whether H-2B employers may have recurring

annual needs, 80 Fed. Reg. at 24,056 (first and middle columns), then they said:

               DOL has determined that 9 months better reflects a recurring
               seasonal or temporary need and [the Departments] have
               accordingly adopted a new standard in this interim final rule.

80 Fed. Reg. at 24,056 (middle column) (Emphasis supplied).

       73.     Indeed, they also recognized that H-2B employers often have “recurring seasonal

or temporary needs” in their claimed justification that relatively few H-2B employers would be

adversely affected by this change saying:

               The majority of H-2B applicants will not be affected by this
               change. According to DOL H-2B program data for FY 2010-2014,
               65.2% of certified and partially certified employer applicants had a
               duration of temporary need less than or equal to 9 months.

Id. at 24,056 (middle column).

       74.     Specifically in describing the recurring, annual needs of peakload need

employers, the Departments continued:

               Similarly, we have determined that limiting to 9 months the
               duration of temporary need on a peakload basis would ensure that
               the employer is not mischaracterizing a permanent need as one that
               is temporary. For example, since temporary need on a peakload
               basis is not tied to a season [although as explicitly recognized in 8
               C.F.R. § 214.2(h)(6)(ii)(B)(3), it may be tied to a season] under the
               current 10-month standard [that Congress in December 2015
               insisted on maintaining for fiscal year 2016 despite the
               Departments’ adopting of a 9-month standard in the April 29, 2015
               promulgated regulations] an employer may be able to characterize

COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 44
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16               Page 45 of 68 PageID 45


               a permanent need for the service or labor by filing consecutive
               applications for workers on a peakload basis. To the extent that
               each application does not exceed 10 months, the 2 month inactivity
               period may correspond to a temporary reduction in workforce due
               to annual vacations or administrative periods. Increasing the
               duration of time during which an employer must discontinue
               operations from 2 months to 3 will ensure that the program is
               reserved for employers with a genuine temporary need.

80 Fed. Reg. at 24,056 (middle column).

       75.     An irrational, illegally restrictive, and sometimes inconsistently applied

“principle” has developed among some USCIS adjudicators so that if an employer maintains a

regular year-round workforce that, for example, never performs a warm-weather task associated

with plants but in the winter only performs tasks such as clearing snow, it is recognized as

engaged in a “seasonal business” during warmer months when outdoor plants are “touched.”

These employers are recognized as having a seasonal need during warm months.               Other

adjudicators view an employer having anyone on the payroll year round who ever touches an

outdoor plant or picks up a fallen tree limb in the winter as employing workers engaged in a year

round job rather than a “temporary” or other “seasonal” job even if the employer must vastly

expand its workforce for a period during each annual period of 12 months. If the unlucky or

non-mind reading Agent or employer has marked the “seasonal box” on the USCIS I-129 form

instead of the “peakload box” on the I-129 form, the employer’s H-2B petition for visa approval

to bring in three, four or five times as many guestworkers on to its workforce for a “temporary”

period of nine or ten months in the spring, summer and fall is denied even though documentation

submitted by the Agent and employer clearly shows that the employer’s need for the vastly

expanded workforce is a peakload need, “temporary in nature and recurring each year” for up to

nine or possibly as many as ten months.



COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 45
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16               Page 46 of 68 PageID 46


       76.     Rejecting an employer’s H-2B petition because it has marked the “wrong box”

even though the documentation submitted to USCIS through tax returns, payroll records showing

weekly payroll amounts paid to laborers in the occupations to be filled by the H-2B workers as

well as to other employees in the employer’s workforce to show the annual cyclical highs and

lows of the employer’s workforce needs over 12 months and reflect and prove a surge of

employment headcount in the laborer positions, such as landscape maintenance worker to be

filled partly by H-2B guestworkers only during warm months, is arbitrary and unreasonable.

Despite the seeming clarity of the applicable regulations, especially in light of the Federal

Register commentary on the subject, USCIS adjudicators have sown confusion among the

regulated community as to what the terms “peakload need” and “seasonal need” actually mean

to USCIS adjudicators.    Delaying or saying certification will be denied if the wrong box has

been checked even though the documentation re-establishes the temporary need that OFLC has

already recognized as proven but meeting the 15-day period within which USCIS must act to be

able to say it has taken an action on the petition within 15 days of receipt of a petition, as

required under the rules governing the handling of petitions filed with the extra One Thousand

Two Hundred Twenty-Five Dollars ($1,225) for “premium processing” of the petition is

unreasonable, arbitrary and capricious.

       77.     In DOL guidance documents issued before the now current DHS regulations

became effective, DOL had noted that applying the then current DHS regulations at 8 C.F.R.

§ 214.2(h)(6)(ii) “[A]n employer’s seasonal or peakload need of longer than 10 months, which is

of a recurring nature, will not be accepted.” 72 Fed. Reg. 38,621, 38,622 (July 13, 2007) (third

column) (Emphasis supplied). Necessarily, then a recurring seasonal or peakload need would be

authorized. At that time, as now, the definitions of “seasonal need” and “peakload need” remain


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 46
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                  Page 47 of 68 PageID 47


the same under DHS rules, showing that under both DOL and DHS’s then long-accepted

guidance and requirements, an employer may indeed have a recurring seasonal or peakload need

and remain eligible to participate in the H-2B program.

       78.     When DHS proposed the now-current DHS regulations at 73 Fed. Reg. 49,109-

49,122 (Aug. 20, 2008), it again recognized that employers may use the H-2B program for

recurring annual needs and said:

               U.S. employers in seasonal and certain other industries have, in the
               past, faced a shortage of U.S. workers who are able, willing, and
               qualified to fill temporary non-agricultural jobs, and who would be
               available at the time and place needed to perform the work. To
               meet this need U.S. employers have turned to hiring foreign
               workers. One avenue open to such employers is to petition for
               foreign workers who qualify within the H-2B nonimmigrant
               classification. [Citations to the Immigration and Nationality Act
               are omitted.] According to the DOL Employment and Training
               administration, the top three occupations for which U.S. employers
               utilize the H-2B program are landscape laborers, housekeeping
               cleaners, and construction workers.
73 Fed. Reg. at 49,109 (Aug. 20, 2008) (third column) (Emphasis supplied).

       79.     Even then, DHS recognized that such employers’ needs may be seasonal or

peakload, recurring on an annual basis, such as in outdoor landscaping work where the ability

and need to perform outside work on plants, planting annual plants and maintenance of grounds,

shrubs and other plant life in most parts of the U.S. is tied to a certain time of the year – spring,

summer and fall – by a predictable event or pattern (such as the absence of snow, ice and

freezing weather and the resurgence of dormant plant life) and requires labor far above those

necessary for ongoing operations.” 73 Fed. Reg. at 49,110 (middle column).

       80.     DHS further explained that having a defined “seasonal need” or annual cycle can

result in a “peakload need” in landscaping operations in parts of the country where weather, as

documented by weather records and business record evidence show an annual period when such

COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 47
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                 Page 48 of 68 PageID 48


work is vastly reduced or even discontinued. 73 Fed. Reg. at 49,110 (middle column). While

saying on the one hand that such temporary workers “may not become a part of the petitioner’s

regular operations, in the same paragraph DHS acknowledged—expressly said—it would allow

recurring annual eligibility to use the H-2B Program where the “peakload” is also “tied to” a

“seasonal need or other recurring need” “that is tied to a certain time of year by a predictable

pattern.” Id. (Emphasis supplied).

       81.     In further explaining what it meant by stating that the need for “temporary”

services or labor must be for a “limited period of time,” DHS noted that the term “limited period

of time” is in turn defined as a period of need that will end in the near, definable future. 73 Fed.

Reg. at 49,115 (first column).

       82.     Continuing to explain the current DHS regulations that govern USCIS actions,

DHS said it would generally consider a period of temporary need to be limited to one year or less

. . . except in the case of a one-time need such as for construction workers on a lengthy more

than year-long project. 73 Fed. Reg. at 49,115.

       83.     When DHS adopted its now-current H-2B regulations on December 19, 2008, the

provisions defining “peakload need” and “seasonal need” remained the same as they were

previously and are now. See 73 Fed. Reg. 78,104, 78,129 (Dec. 19, 2008) (middle column)

codified at 8 C.F.R. § 214.2(h)(6)(ii)(B).

       84.     In further recognizing that many H-2B employers annually require the services of

temporary employees, DHS noted that in many ways the H-2B program is similar to the H-2A

program for agricultural employees and employers but as in the case of construction workers

covers a broader spectrum of industries that have needs beyond those of typical “agricultural

growing season[s].” 73 Fed. Reg. at 78,119. Clearly, someone at DHS recognizes that most


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 48
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                    Page 49 of 68 PageID 49


outdoor plants in most parts of the United States have an annual growing cycle that results in

periods when few or no workers are required.

       85.     DHS and DOL regulations currently in effect make it clear that H-2B employers

legitimately may have annually recurring needs for temporary workers. Denying any H-2B

employer’s petition or even issuing a Request for Evidence because the employer has come to

rely annually on the availability of temporary foreign workers to meet any “temporary need for

labor or services” whether the need be a “seasonal” workforce need or a “peakload” workforce

need, as those terms are properly defined, is unreasonable and contrary to applicable legal

requirements, including those under 8 U.S.C. § 1101(a)(15)(H)(ii)(b) and the provisions of the

Administrative Procedure Act as well as the regulations and explanations of its own regulations

by USCIS..

       86.     Some of the Plaintiff Agents’ employers have received petition denials for USCIS

because they have asked for a period of visa approval for up to ten (10) months during a

consecutive annual period in violation of the restrictions on the USCIS that were imposed in

Section 113 of the 2016 Appropriations Act.

       87.     Congress has declared that the USCIS may not limit annual recurring needs to

nine (9) or fewer months on a consecutive basis. In the Consolidated Appropriations Act, 2016,

Pub. L. 114-113, § 113 Congress said:

               Further, for the purpose of regulation admission of temporary
               workers under the H-2B program, the definition of temporary need
               shall be that provided in 8 C.F.R. 214.2(h)(6)(ii)(B).

       88.     Under the incorporated 8 C.F.R. § 214.2(h)(6)(ii)(B), DHS expressly states that

“[E]mployment is of a temporary nature when the employer needs a worker for a limited period

of time . . . . Generally, that period of time will be limited to one year or less, but in the case of a

one-time that could last up to three years.
COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 49
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 50 of 68 PageID 50


       89.     In so specifying Congress recognized the eligibility of H-2B employers that

require full or partial H-2B workforces on a recurring, annual basis when it passed the budget for

2016. In so doing, Congress also expressly rejected a nine (9) month regulatory limitation on the

annual period an employer may employ an H-2B worker. The maximum annual employment

period DHS and the DOL, acting jointly, had adopted in Interim Final Regulations was to have

been nine (9) months. 80 Fed. Reg. at 24,113 (first and middle columns) to be codified as 20

C.F.R. § 655.6(b). See also 80 Fed. Reg. at 24,056. These IFRs had been adopted on a claimed

emergency basis without notice and comment rulemaking and without employer input. (See 80

Fed. Reg. 24,042-24,144) (April 29, 2015).

       90.     Furthermore, when Joint DHS and DOL published the April 29, 2015 Joint

Regulations, some provisions of which Congress blocked in the 2016 Appropriations

Authorization, DHS along with DOL discussed the ability of a job contracting or staffing

company to use the H-2B program to meet temporary workforce needs. They said that a job

contracting or staffing company has limited ability to use the H-2B program if it supplies

workers to multiple employers on an essentially a year round basis. Nonetheless, they said that

even such a staffing company can be eligible to use the H-2B program to provide workers to

clients. DHS acknowledged that “a job contractor that regularly supplies workers for ski resorts

from October to March but does not supply any workers performing the same services or labor

needed by the ski resorts outside of those months would qualify as having a temporary need that

is seasonal for such workers,” again demonstrating the recognition by DHS that H-2B employers

can have an annual recurring need for particular jobs to be performed for particular periods of

time each year or on an up to ten (10) consecutive month basis in a period stretching over two

calendar years. 80 Fed. Reg. at 24,055 (middle column).


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 50
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                 Page 51 of 68 PageID 51


       91.     Also in the April 29, 2015 joint publication of the agencies’ joint rule on

requirements for DOL review of H-2B applications, they recognized that annual needs for

temporary workers for at least nine (9) months are appropriate for H-2B certification even

though they wanted to reduce the annual recurring period to nine (9) months from the then

existing ten (10) month maximum. As the agencies there said after discussing the treatment of

the 1-time occurrence that may last for a period of up to three years, the other categories of

“temporary need” would henceforth be limited to periods of nine (9) months, “a decrease from

the 10-month duration under DOL’s 2008 rule.” 80 Fed. Reg. at 24,055 (third column), citing

also 8 C.F.R. § 214.2(h)(6)(ii)(B). This planned nine (9) month limit in annual periods of

temporary need later was rejected in the 2016 Appropriations Act.

       92.     The DOL, OFLC, and their officials have likewise failed and continue to fail to

meet statutory and regulatory duties, and their failures continue and continue to cause irreparable

damages. In the jointly issued regulations governing the application of H-2B employers to

DOL’s OFLC for issuance of a labor certification the employers must then submit with their

petitions to the DHS component agency, the USCIS, employers and OFLC are subject to strict

timelines within which actions must be taken. All actions must be completed by employers and

their agents, DOL/OFLC and the USCIS in a very compressed time, especially considering that

each application and petition filed by an employer may seek authorization for temporary

employment of guestworkers for only a limited time, at most only 9 or now 10 months again

except for 1-time occurrence situations. Many H-2B employers do employ H-2B guestworkers

for nine (9) or even ten (10) months during each 12-month period and cannot operate without

them. Employers only make these filings because the employers expect to be unable and thus far




COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 51
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 52 of 68 PageID 52


have been unable to obtain hiring acceptances from an adequate number of U.S. workers to fill

their temporary staffing needs.

       93.     In a drastic and predictably catastrophic change from DOL/OFLC’s prior

application filing process under which employers and their agents could file their applications as

many as 120 days in advance of the employer’s date of needing the workers in place in the U.S.

and at work, under the jointly issued new procedures an employer may submit a completed

Application for Temporary Employment Certification no more than “90 calendar days. . . before

the employer’s date of need”. 20 C.F.R. §655.15(d), 80 Fed. Reg. at 24,059, 24,115. (Emphasis

supplied.) When employers could submit their labor certification applications up to 120 days

before their date of need, if DOL’s OFLC met its deadlines for its actions as imposed by DOL’s

regulations, there was more time after DOL/OFLC issued the labor certification and delivered it

to the employer and its agent by overnight delivery for USCIS and then the Consular offices to

complete their parts of the process. Knowing each part of the process was time-consuming,

employers hastened to submit their petitions as soon as possible and paid the premium

processing fee of $1,225 in reliance on obtaining their visa authorizations within 15 days after

submitting their petitions so they and their proposed H-2B employees could move on to the

actual visa issuance processes of the Department of State.

       94.     Under the regulations currently in effect for DOL/OFLC processing, there is

theoretically an “emergency process” whereby the certifying officer of DOL’s OFLC “may

waive the time period(s) for filing an H-2B Registration (that now must be submitted in advance

of any application under ordinary circumstances) and/or Application for Temporary

Employment Certification for employers that have good and substantial cause, provided the CO

has sufficient time to thoroughly test the domestic labor market on an expedited basis and to


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 52
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                 Page 53 of 68 PageID 53


make a final determination as required by § 655.50. 80 Fed. Reg. at 24,116, to be codified as 20

C.F.R. § 655.17(a). Plaintiff Agents and their employer clients have worked hard and urgently

to use this “emergency” process, but OFLC’s backlog of H-2B (and now H-2A agricultural

applications) is still far behind and getting worse as its agency officials have admitted. See

Exhibit 12, pp. 167-169, 173, 176-178, 241-242.

       95.      The current OFLC regulations, like those these replaced, require that any Notice

sent by the OFLC certifying officer that requires a response must be mailed to the address

provided by the proposed H-2B employer “using means to insure next day delivery.” Now such

delivery may be made by electronic mail. The employer’s response to such a notice or request

must be mailed using methods to assure next day delivery, including electronic mail. 80 Fed.

Reg. 24,122, to be published as 20 C.F.R. § 655.30.

       96.     The jointly published DHS/DOL OFLC regulations further provide that if the

OFLC certifying officer determines that an employer’s Application “. . . and/or job order is

incomplete, contains errors or inaccuracies or does not meet the requirements set forth in this

subpart,” the certifying officer must notify the employer “within 7 business days from the CO’s

receipt of the Application. . . .” 80 Fed. Reg. at 21,122, to be codified as 20 C.F.R. § 655.31(a).

Among other requirements, such notice issued by the CO must state that reasons the Application

or job order fails to meet criteria for acceptance and must state any modification needed for the

CO to issue a Notice of Acceptance of the application. The CO must offer the employer the

opportunity to submit a modified Application within ten (10) business days of the Notice of

Deficiency.    While the Notice of Deficiency must offer the proposed H-2B employer an

opportunity to obtain administrative review of the Notice of Deficiency before an Administrative

Law Judge of the Department of Labor, 80 Fed. Reg. at 24,122 (third column), to be codified as


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 53
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 54 of 68 PageID 54


20 C.F.R. § 655.31(b) filing an appeal would be an act of futility, given the compressed time

within which all H-2B certification application, petition for visa authorization, and actual

individual worker visa issuances must occur within the short 90 day period that is the earliest

date employers may now apply to DOL/OFLC to start the certification process. Even then,

workers must actually travel to the workplace in order to be on-the-job.

       97.     Turning again to the DOL/OFLC application for certification, if modifications to

the application are required and are made timely, the certifying officer will issue a Notice of

Acceptance of the application (“NOA”). 80 Fed. Reg. 24,122-24,123, to be published as 20

C.F.R. § 655.32. Once the Notice of Acceptance is finally issued, the employer may begin its

formal recruitment of U.S. potential workers and must complete recruitment procedures before

the employer and its agent submit the employer’s recruitment report as required so that the labor

certification will finally be issued by DOL//OFLC. 80 Fed. Reg. at 24,124, to be codified as 20

C.F.R. § 655.40(b).

       98.     By regulation, the CO must issue an NOA within a seven (7) day period after the

Application and Job Order are complete and meet requirements of what is to be codified as 20

C.F.R. Part 655, Subpart A, that pertains to the H-2B DOL certification process. 80 Fed. Reg. at

24,123 (first column), to be codified as 20 C.F.R. § 655.33. “[T]he CO will notify the employer

in writing within seven (7) business days from the date the CO received the Application…and

Job Order or modification thereof.” 80 Fed. Reg. at 24,123 (first column), to be codified at 20

C.F.R. §655.33(a).

       99.     Contrary to these regulatory requirements for action by DOL, the Plaintiff Agents

and their employer clients have not received Notices of Acceptance or Notices of Deficiency

within the seven (7) day required period. Indeed, as shown by the attached Exhibits 1 through 11


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 54
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                  Page 55 of 68 PageID 55


demonstrating delays in which DOL and OFLC have engaged, in many instances H-2B

employers and their agents have no knowledge of the status of their long pending Applications

and job orders. Timeliness of DOL and OFLC actions is critical because an H-2B employer and

its agent must file the approved labor certification with the USCIS in connection with the

employer’s petition for authorization for the issuance of the H-2B visas it needs so the employer

or agent can then schedule an appointment time for the prospective worker to be interviewed by

a Consular officer so the actual visas can be issued to individual workers.         The regulations

require that once a temporary laborer certification is granted, the CO must send the approved

certification and final determination letter to the employer and its agent, if there is one, by means

normally assuring next day delivery, including electronic mail. 80 Fed. Reg. at 24,126 (first

column), to be codified at 20 C.F.R. § 655.52.

       100.    As was true under previously issued DOL/OFLC regulations, the DOL/OFLC

may conduct audits of previously issued temporary employment certification applications to

determine an employer’s compliance with H-2B legal obligations as provided under regulations.

It may refer findings and underlying documentation collected to DHS, to DOL’s Wage and Hour

Division or to “other appropriate enforcement agencies.” 80 Fed. Reg. at 24,128, to be codified

at 20 C.F.R. § 655.70(d).

       101.    To meet statutory and due process requirements, all the processes of DOL/OFLC

and DHS/USCIS must provide an effective means by which employers can both meet all

governmental filing requirements and also obtain their certifications and visa authorizations in

time to allow needed temporary workers to obtain their individual visas and arrive at the

employers’ job sites on time by their employers’ dates of need. These agencies have failed to

accomplish this obligation. The Plaintiff Agents and their employer clients have begged officials


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 55
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                 Page 56 of 68 PageID 56


of their agencies to find solutions to the problems, and they have apprised Defendant officials of

improper and unlawful demands being made by their subordinate staff certifying officers in

DOL/OFLC and adjudicators in DHS/USCIS. The attached correspondence between attorney

Wendel Hall directed to OFLC Service Center Director Kathy Baran is indicative of the attention

paid by these Defendants to the urgent requests for oversight being requested by and on behalf of

H-2B employers in light of the mounting and unresolved delays, improper agency actions and

injuries caused by their failures of attention attached as Exhibit 12, pp. 234-240. See also the

attached correspondence between Veronica Birkenstock, President of Practical Employee

Solutions, and Brian Pasternak, Deputy Director of the DOL/OFLC attached as Exhibit 12,

p. 167, and other correspondence such as that on pages 165-166, 174-175, 234-240, 241-242,

248-261.

       102.    No court or lawful authority has directed USCIS to delay, stop or suspend

premium processing of petitions for which all of these agent’s employers have paid but for which

they have not received promised benefits of such payments by prompt processing by USCIS. In

the past weeks, for those employers for which the Agents have obtained issuances of OFLC

“certifications,” they have filed visa petitions by overnight courier deliveries or electronic means

but in many instances the agents and employers have not even received notification by USCIS

that their petitions have been received. In many cases, where petitions have been acknowledged

as received, USCIS adjudicators have issued Requests for Evidence or Notices of Intent to Deny

based on grounds that are not permitted under DHS’s own regulations. DHS Defendants have

allowed USDIC adjudicators to issue Requests for Evidence to which the employers and their

agents must respond. They have thereby incurred delays and expenses on grounds that are not

legally permitted and that are contrary to applicable DHS/USCIS regulatory requirements, the


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 56
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 57 of 68 PageID 57


2016 Congressional Appropriations Act restrictions on such agency requirements, or both.

Because of delays by both DOL/OFLC and DHS/USCIS staff under the direction of these agency

Defendants, Plaintiffs’ employer clients who needed seasonal or other temporary workers in

January, February and March and who are still subject to pending Application and petitions are

already far behind in their work, some of which cannot now be performed and for which they

will forever have lost revenues as well as good will. Others need their workers as of April 1,

now an impossibility for most as a practical matter. They too will be unable to meet their

contractual obligations to clients and will not be able to conduct regular business operations for

which they and their U.S. employees rely on the availability of these H-2B workers to perform

expected work demands in hotels, inns, resorts and restaurants, for landscaping customers and

for others for which there is expected business demand but for which there are no formal

contracts in existence. With respect to services the H-2B employers have contracted to provide

and with respect to business services of an ordinary nature the employers have held themselves

available to perform, each that cannot perform services for which it has contracted or normally

provides to the public will suffer irreparable damages and losses financially and to their

reputations. Each H-2B prospective employer and all of the Plaintiff Agents have invested

substantial sums of money in conducting their businesses in preparation for the temporary period

now passing without workers or just days ahead during which they had expected to earn their

major revenue for the year. They have spent unrecoverable money, time, and effort applying for

the authorizations requested through the DOL and DHS. These businesses are at risk of failure.

The jobs at risk include those of their U.S. employees who also depend on the timely services of

the needed H-2B workers who are not on the job and, as things stand, not going to be on the job.




COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 57
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16               Page 58 of 68 PageID 58


       103.    USCIS procedures specify that USCIS will adjudicate an employer’s petition filed

with an approved OFLC labor certification within 15 calendar days of the filing of the petition

when the employer pays an extra One Thousand Two Hundred Two-Five Dollars ($1,225.00) for

“premium processing.” See Pub. L. 106-553, 114 Stat 2762 (Dec 21, 2000); INA 286(u), 8

U.S.C. § 1356(u); 8 C.F.R §§ 103.2(f), 103.7(b)(1), (c)(1); 66 Fed. Reg. 29,682-86 (June 1,

2001). USCIS must refund the extra premium processing fee if action is not taken within these

15 calendar days, but the mandatory 15 day processing deadline is met if USCIS issues an

Approval, a Request for Evidence, a Notice of Intent to Deny, or a Denial Notice within 15

calendar days of receipt or if the case is referred for investigation or suspected fraud or

misrepresentation.”    DHS/USCIS Instructions for Premium Processing Service, USCIS 9-07,

OMB No. 1615-0048, under “When should I use Form I-907”, page 1, paragraph 5. USCIS has

not in good faith met requirements for processing properly filed, duly DOL/OFLC certified

petitions for visa issuance authorizations.

       104.    Other than demonstrating by its actions that it has reserved the right to consider

DOL/OFLC determinations on such matters as the adequacy of the showing by the employer that

the requested positions are “temporary” and that such determinations by DOL/OFLC are only

advisory and subject de novo investigation and adjudication by USCIS, another reason USCIS

may be issuing such an unprecedented number of Requests for Evidence and Notices of Intent to

Deny—including many that make demands USCIS may not legally make, is to comply formally

with its 15 day action requirement. Plaintiffs Exhibits show their respective comparisons in the

numbers of Requests for Evidence by USCIS in 2016 as compared to the past. Perhaps that is

also the reason so many RFE’s are issued that contain a different “target” employer name within

them than the “addressee” employer and why some adjudicators have asked for a supposedly


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 58
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 59 of 68 PageID 59


necessary form ETA-750, the use of which was discontinued by DOL upon the effective date of

DOL/OFLC’s regulations governing the H-2B program published in December 2008. 73 Fed.

Reg. at 78,051 (Dec. 19, 2008).

       105.    Whatever the reason for the extraordinary delays of visa adjudication in which

DHS/USCIS is engaged, these delays are not authorized by the INA, as amended by IRCA and

have the practical effect of thwarting entirely the ability of H-2B employers to use the H-2B

program in a meaningful and reliable way, thereby denying them entirely the benefit of

Congressionally approved process by which they may employ legal temporary guestworkers.

       106.    Practical Employee Solutions has initiated multiple inquiries to USCIS and

OFLC by telephone, mail and attempted personal contact about the status of its clients’ pending

DOL/OFLC applications and pending DHS/USCIS petitions.

       107.    Amigos Labor Solutions, Inc. has initiated multiple inquiries to USCIS and

OFLC by telephone, mail and attempted personal contact about the status of its clients’ pending

the DOL/OFLC applications and pending DHS/USCIS petitions.

       108.    International Labor Consultants Co, Ltd. has initiated multiple inquiries to

USCIS and OFLC by telephone, mail and attempted personal contact about the status of its

clients’ pending the DOL/OFLC applications and pending DHS/USCIS petitions.

       109.    Mas Labor H2B, LLC has initiated multiple inquiries to USCIS and OFLC by

telephone, mail and attempted personal contact about the status of its clients’ pending the

DOL/OFLC applications and pending DHS/USCIS petitions.

       110.    Because of the lack of sufficient numbers of able, willing and qualified US

workers to staff their seasonal or other temporary work obligations, Plaintiffs’ H-2B employer

clients are already or will be unable to fulfill their contractual obligations to clients in 2016.


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 59
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 60 of 68 PageID 60


Their dire circumstances worsen if they do not immediately obtain H-2B workers to fulfill

contractual work obligations and also to hold open their doors for regular business, as they have

done in past years, expecting reasonably comparable levels of new and repeat business

opportunities in 2016. Employers that needed their temporary workforce in January or February

are already suffering irreparable financial losses and reputational injuries and other serious

injuries and lost business opportunities. For example, a refractory business in Fort Worth, Texas,

had to turn down a work opportunity amounting to $750,000 in revenues and “high bid” another

job because it needed H-2B workers to perform the work. The unavailability of those H-2B

workers also means jobs that would have been held by Americans are lost. See Exhibit 12,

pp. 31-32. Plaintiff Agents, their clients and all of their respective employees will suffer from

the collapse of these businesses that are dependent on the timely availability of H-2B

guestworkers, to the extent that U.S. workers are not available to perform these jobs.

Litzenburger Landscape in a small town in Michigan has announced that after 31 years of

business it is shutting down, effective immediately, because needed H-2B workers on whom it

has relied are not available because of DOL/OFLC delays. Before Litzenburger Landscape quit

waiting and hoping, it had waited 78 days for the first DOL/OFLC step that under regulations

should have happened within 7 business days. Plaintiff Agents and their employer clients will

suffer millions of dollars in unrecoverable damages, besides the collapse of many of these

businesses that provide employment to U.S. workers, some of them in jobs for which H-2B

workers are needed to supplement the U.S. workforce and enable the U.S. workers to have an

employment opportunity. Other U.S. workers in management, sales, administrative and other

jobs for which H-2B workers are not needed but whose jobs are dependent on the availability of




COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 60
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                  Page 61 of 68 PageID 61


H-2B workers are to perform the projects to be undertaken by these businesses are also at risk of

losing their jobs.

        111.    If Plaintiff Agents cannot obtain the issuances of the OFLC labor Certifications

and petition approvals for their respective H-2B clients, each will suffer a loss of business

reputation that is irreparable, as will their client employers. Plaintiff Agents and their respective

H-2B employer clients and their customers’ clients will lose confidence in the reasonable and

reliable operation of their H-2B government programs that Congress designed to enable U.S.

employers, facing a temporary workforce shortage, to hire legally authorized workers. Plaintiff

Agents and their employer clients have each invested substantial sums of money in earning and

maintaining their respective reputations for reliability and in preparation for their seasons that

should have already started or should begin April 1, 2016. Within a short temporary window,

these business must earn most, and in some cases all, of the revenue they will receive for the

year.

        112.    As another example, Plaintiff Agent Practical Employee Solutions’ employer

client Bio Landscape and Maintenance, Inc., dba Yellow Stone Landscape (“Bio”) will begin its

2016 season already “behind” and not meeting its contractual obligations as a result of H-2B

workers not arriving on time to begin work on April 1, as its President Timothy J. Portland

testifies in his Declarations that are attached as Exhibit 12, pp. 1-17 and 243-247.

        113.    a.     “Beginning April 1, we will be behind in meeting our contractual

obligations. We will be attempting to perform work that was to have been performed by the 138

H-2B workers we have worked so hard and spent so much time and money to obtain legally

through other Bio personnel who will be working on an overtime basis at a cost to the company




COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 61
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                 Page 62 of 68 PageID 62


of more than $80,000 PER WEEK in overtime wages. We cannot recoup those overtime wages

from our clients or the agency that has caused these losses.

       114.    b.      Beginning April 1, BIO will begin suffering significant inefficiencies in

crew routing, rescheduling of customer services, crew fatigue, excessive managerial hours, and

other inefficiencies from massive overwork of our existing workforce in the already chaotic

ramp-up of our peak season of high customer demands.                A 15% reduction in overall

productivity, which is our best estimate given the loss of 138 working positions, results in an

additional $35,000 PER WEEK in expenses that Bio will begin incurring.

       115.    c.      Beyond the pure financial costs, we are further concerned about fatigue

among our domestic workforce, the safety impact of these extra working hours on our workforce

and the long term impact of any safety incidents on our safety rating and insurance costs while at

the same time realizing if we fail to keep existing customers at least reasonably satisfied, we will

not have a business that needs workers.

       116.    d.      Further, as customer schedules are compromised, rescheduled, pushed into

evening and weekend hours, etc., our customers will experience meaningful dis-satisfaction, and

some will cancel their contracts. Bio works and competes hard to win new customer contracts

and harder to maintain them. We pride ourselves on our service standards and meeting customer

requirements. Those efforts resulted in a Trailing Twelve Month Retention Rate of nearly 90%

of the contractual revenue we had one year ago. Therefore, losing a customer because of these

un-necessary labor shortages further costs Bio the lost margin on each such contract for an

average of nearly 9 of the next 10 years.      The potential loss of a single $10,000 per month

customer contract, at a 25% contribution margin (before fixed overhead expenses), for 9 years,

would be $270,000 in lost value.


COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 62
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16               Page 63 of 68 PageID 63


       117.    e.     Lastly, despite making commitments to shareholders, lenders and even

employees on growth targets (not to mention customer retention aspirations we and our

employees have worked hard to maintain), without the personnel to execute our existing

contracts and obligations, Bio will need to dial back on what new opportunities it bids and

proposes, sacrificing growth both short term, and suffering the compounding adverse financial

and reputational effects over the long term.”

       118.    Because the Plaintiff Agents’ employer clients, including these employer-clients,

have not obtained certifications issued by DOL/OFLC and visa authorizations issued by

DHS/USCIS in a timely manner, or at all, each of these companies is already suffering financial

and reputational harm and will continue to suffer such irreparable, financial and reputational

harms because of the acts and omissions of these federal agencies and their officials who are

responsible for the operation of the H-2B Program. The only mitigation of these terrible losses

can come through an injunction and the issuance of a writ of mandamus requiring immediate

attention to issuance of the held up labor certifications and authorizations by USCIS for the

issuance of visas so that affected H-2B employers and their agents can make arrangements for

expected H-2B employees to present themselves at a U.S. Consulate in their home countries to

be interviewed so that their individual workers’ visas finally can be issued and they can begin

their journeys to the job worksites of their proposed employers who need them so urgently.

       119.    Plaintiffs and their respective employer-clients will be unable to recover

compensation from the government Defendants and their respective officials for the harms

caused by their unreasonable delays and refusals to act.




COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 63
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 64 of 68 PageID 64


                                      FIRST CAUSE OF ACTION
                            Violation of the Administrative Procedure Act,
                               5 U.S.C. §§ 551 et seq., 701 et seq.
       120.    Plaintiffs re-allege and incorporate by reference the allegations of Paragraphs 1-

114 of the Complaint as if fully set forth herein.

       121.    The failure by DOL/OFLC and DHS/USCIS and their responsible officials to act

upon their timely-filed applications for certification and adjudicate and approve the petitions

filed by Plaintiffs and their respective employer-clients that were filed in accordance with all

applicable statutory and regulatory requirements are agency actions pursuant to the

Administrative Procedure Act. 5 U.S.C. § 551(13).

       122.    The failures by DOL/OFLC and DHS/USCIS and their responsible officials to act

upon Plaintiffs’ and their client employers’ timely-filed applications for certification and

adjudicate and approve Plaintiffs’ employer clients’ petitions, that were filed in accordance with

all applicable, required statutory and regulatory requirements are arbitrary and capricious

actions, are agency actions unlawfully withheld or unreasonably delayed, or are otherwise not in

accordance with law, all in violation of the Administrative Procedure Act. 5 U.S.C. § 701 et seq.

       123.    The actions by both DOL/OFLC and DHS/USCIS and their responsible officials

of sending out Requests for Modification of Applications filed with OFLC that are not justified

by reason, regulation or common sense and of similar actions by USCIS in issuing Requests for

Evidence, Notices of Intent to Deny and Denials that are not justified by reason, regulation or

common sense, are arbitrary and capricious actions, are agency actions unlawfully withheld or

unreasonably delayed, or are otherwise not in accordance with law, all in violation of the

Administrative Procedure Act. 5 U.S.C. § 701 et seq.

       124.    The refusals of DOL/OFLC and its officers to adhere to the deadlines in the Joint

DHS/DOL H-2B Regulations by which the labor certifications should be been issued, and
COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 64
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                 Page 65 of 68 PageID 65


DHS/USCIS and its officers to adjudicate and approve petitions filed on behalf of Plaintiffs’

employer-clients using “premium processing” time limits and only legally permissible

requirements are arbitrary and capricious actions, are agency actions unlawfully withheld or

unreasonably delayed, or are otherwise not in accordance with law, all in violation of the

Administrative Procedure Act. 5 U.S.C. § 701 et seq. The actions of these agencies and their

officers of claiming that businesses that have engaged in seasonal operations or operations that

require expanded workforces to meet “peakload” temporary needs for many years must prove

their seasonal or other temporary need are likewise violative of the Administrative Procedure

Act, 5 U.S.C. § 701, et seq. The determinations of USCIS adjudicators that H-2B employers may

not have annual, recurring needs for H-2B workers is an unlawful restriction on the use of the H-

2B program in violation of the Administrative Procedure Act, 5 U.S.C. § 701 et seq.

                                 SECOND CAUSE OF ACTION
                             Violation of the Takings Clause of the
                      Fifth Amendment to the United States Constitution

       125.    Plaintiffs re-allege and incorporate by reference the allegations of Paragraphs 1-

118 of the Complaint as if fully set forth herein.

       126.    The failures of DOL/OFLC and DHS/USCIS and their respective officers and

agents to review and approve applications for certification and to adjudicate and approve

petitions filed by Plaintiffs on behalf of their employer-clients, all of which meet the statutory

and regulatory standards for certification or approval of visa petitions has deprived Plaintiffs and

their employer-clients of benefits to which they are otherwise entitled without due process of

law. These actions constitute a taking of private property without just compensation in violation

of the Fifth Amendment to the United States Constitution.           The denial of H-2B visas to




COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 65
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                  Page 66 of 68 PageID 66


employers that have come to rely on the annual use of the H-2B temporary worker program to

provide their staff or to supplement their regular staffs is likewise such an unlawful taking.

                                  THIRD CAUSE OF ACTION
                     Declaration Pursuant to the Declaratory Judgment Act

       127.      Plaintiffs re-allege and incorporates by reference the allegations of Paragraphs 1-

121 of the Complaint as if fully set forth herein.

       128.      There is actual controversy of sufficient immediacy and concreteness related to

Plaintiffs’ legal rights, such that relief is warranted under 28 U.S.C. §§ 2201, 2202.

       129.      The harms Plaintiffs and their employer clients have already experienced and will

experience as a result of the actions, delayed actions, and failures to act of the agency Defendants

and their respective officials is sufficiently real and imminent to warrant the issuance of a

conclusive declaratory judgment and related injunctive relief.

                                     PRAYER FOR RELIEF

       For the reasons set forth in this Complaint, Plaintiffs request relief from the Court as

follows, noting that as soon as appropriate papers can be prepared they will seek an immediate

injunction and the issuance of a writ of mandamus against all of the Defendants to achieve

urgently needed relief to which the Plaintiffs and their employer clients are entitled that includes

an Order that:

       1. The Certifying Officer of the Office of Foreign Labor Certification immediately issue

           and deliver by email transmission, hard copy by next day delivery, labor certifications

           in connection with all applications for H-2B certification filed by the Plaintiff Agents

           for their employer clients or filed by their employer clients that seek H-2B

           certifications, both still pending and those denied within the past 75 days.

COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 66
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                Page 67 of 68 PageID 67


       2. The Director of the USCIS or his subordinate officials in charge of the California, and

           Vermont USCIS Service Centers, respectively Kathy Baran and Laura Zuchowski,

           immediately issue and deliver by next day delivery authorizations for the issuances of

           all H-2B visas for which Plaintiff Agents or their employer clients have petitioned,

           both those that are pending and those that have been denied within the past 75 days.

       3. That Plaintiffs be awarded their costs in pursing this action as provided in 28 U.S.C. §

           2412, as well as their reasonable attorneys’ fees in accordance with the requirements

           of the Equal Access to Justice Act. 5 U.S.C. § 504 because the acts and omissions of

           the Defendants were not substantially justified and there are no special circumstances

           that make such an award unjust.

       4. And such other relief as this Honorable Court may grant them.

       Respectfully submitted, this 24th day of March, 2016.

                                              /s/ Arthur V. Lambert
                                             Arthur V. Lambert
                                             Attorney-in-Charge
                                             Texas Bar No. 11841250
                                             alambert@laborlawyers.com
                                             FISHER & PHILLIPS, LLP
                                             500 N. Akard Street, Suite 3550
                                             Dallas, Texas 75201
                                             PH: (214) 220-9100
                                             FX: (214)220-9122

                                             COUNSEL FOR PLAINTIFFS




COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 67
FPDOCS 31545073.1
   Case 3:16-cv-00840-N Document 1 Filed 03/24/16                  Page 68 of 68 PageID 68


                                  CERTIFICATE OF SERVICE

       I hereby certify that on March 24, 2016, the foregoing pleading was delivered to Tami C.

Parker, Esquire via email at Tami.Parker@usdoj.gov and shall be delivered in hard copy via

overnight delivery to:

                         Tami C. Parker, Esquire
                         Assistant United States Attorney
                         Deputy Civil Chief, Fort Worth Division
                         United States Attorney's Office
                         801 Cherry Street
                         Unit 4
                         Suite 1700
                         Fort Worth, Texas 76102


                                                             /s/ Arthur V. Lambert
                                                            Arthur V. Lambert




COMPLAINT FOR INJUNCTIVE AND DECLATORY RELIEF
AND PETITION FOR ISSUANCE OF WRIT OF MANDAMUS - Page 68
FPDOCS 31545073.1
